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                                 #:57430




                               EXHIBIT 77
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                THIS EXHIBIT IS FILED UNDER SEAL

                 PURSUANT TO PROTECTIVE ORDER
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                               EXH^BrT 78
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                                                                                              UNITED STATES DISTRICT COURT
                                                                                             CENTRAL DISTRICT OF CALIFORNIA

                            CARTER BRYANT,                                                                                         CASE NUMBER
                                                                                                                                             CV 04-09049 SGL {RNBx)
                                                                                                    PLAINTIFF(S),
                                                                           v.
                            MATTEL, INC., et al.,
                                                                                                                                                           NOTICE OF CLERICAL ERROR


                           TO:          U. S. District Judge(s)
                                        U. 5. Magistrate Judges}
                                        Counsel of Record

                           You are hereby notified that due to a clerical error ❑ documents associated with the filing of the new action ❑ the following
                           scanned document ^ docket entry havelhas been corrected as indicated below.

                           Title of Scanned Document: Minute Order of 425-08, Grantintr in part, Denying in part, and Deferring in Part the Parties' MSJ
                           Filed Date: 4-25-48                                                                             Document Number: 3285
                           ❑         Incorrect case number                           _                                                      _         was assigned to this ❑ action ❑ document.
                           ❑         Case number has been corrected. The correct case number is
                           ❑         Incorrect judge's initials were indicated on this ❑ action ❑ document. The correct judge's initials arc

                           ❑         Incorrect magistrate judge's initials were indicated on this ❑ action ❑ document. The correct magistrate judge's initials
                                      are
                           ❑         Case has been reassigned from ❑ Judge ❑ Magistrate Budge                                                                                                                                         to

                                      ❑ Judge ❑ Magistrate Judge                                                                       .The initials of the newjudge(s} are

                           ❑         Case was assigned to ❑ Western ❑ Southem ❑ Eastern division. Pursuant to General Order ❑ 349, ❑ 98-3 ❑ 02-06,

   ^ m                               the case has been reassigned to the ❑ Westem ❑ Southern ❑ Eastern division. The farmer case number
                   x
   ^               _
                   ^                 has been reassigned to^new case number
   r^'r            W       ❑         Subsequent documents must be filed at the ❑ Western ❑ Southem ❑ Eastem division . Failure to file at the proper location
                   --^
                                     will result in your documents being returned to you.
                           ❑         Case title is corrected from                                                                                     to
                           ❑         Document has been re-numbered as document number
                          ❑          Incorrect ❑ Filed Date ❑ Date of Document ❑ ENTERED pate ❑ DATE ENTERED ON CM/ICMS was stamped on
                                      document. The correct date is
                                     Document is missing page number(s): 7 and 8
                          ❑          To ensure proper routing of documents, all documents filed with the court must reflect the following case number and judge's
                                     initials;
                          d          Other: a complete Copy with missing pages are re-scanned for service on the parties.




                                                                                                                                       CLERIC, U.S. bISTRICT COURT

                          Date, 4-25-08                                                                                                By;                                 Jim Holmes, CRD
                                                                                                                                                     Deputy Clerk
                           cc; lnlake Supervisor /Deputy In Charge



                          C-] I (06!05)                                                                NOTICE OF CLERICAL ERROR




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11 ^Y53L. ..   i   ^.       ..   .    ^^^^       .. ^^^ .^^^ Q4. ^ ..^^5   ^,. .,.   ., _. ,.^,.a    .,..'.i i^:   ^ .. ,•^1.. ,...^i ....,. c^.. ^. ..t^.u t- ..:LiM,. .^r. •CI.'C!L'..
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                                              Case 2:04-cv-09049-SGL-RNB                                                        Documen# 3286                       Filed 04/25/2008                           Page 2 of 11




                                                                                                                     UNITED STATES DISTRICT COURT
                                                                                                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                3470 Twelfth Stree#, Riverside, CA 92501
                                                                                                                     CIVIL MINUTES --GENERAL

                                Case Na.                            CV 04-09049 SGC(RNBx)                                                                                                                 Date : April 25, 2008
                                Title:                              CARTER BRYANT -v- MATTEL, INC.

                                Consolidated With Related Actions:
                                CASE NO. CV 0409059 SGL(RNBx): MATTEL, INC., v. CARTER BRYANT,
                                CASE NO. CV 05-02727 SGL (RNBx): MGA ENTERTAINMENT, INC., v. MATTEL, INC.,

                                PRESENT: HONORABLE STEPHEN G. CARSON, UNITED STATES DISTRICT JUDGE
                                                                    Jim Holmes
                                                                    Courtroom Deputy Clerk

                               ATTORNEYS PRESENT FDR CARTER BRYANT:                                                                                ATTORNEYS PRESENT FOR MATTEL•

                               None Present                                                                                                        None Present


                               ATTORNEYS PRESENT FOR MGA AND                                                                                                                                        '
                               ISAAC LARIAN:

                               None Present
   ^ ^_
   r'^' '^                     PROCEEDINGS :                                          ORDER GRANTING IN PART, DENYING IN PART, AND DEFERRING 1N
                                                                                      PART THE PARTIES' MOTIONS FOR PARTIAL SUMMARY JUDGMENT
                                                                                      (IN CHAMBERS)

      ^ °O This matter is before the Court on the parties' motions for partial summary judgment. The
             motions were heard on April 22, 2008, and the Court has set the motions for further hearing on
             May 19, 2008, at 1:30 p.m. As set forth below, the Court rules on a number of issues presented
             by the motions for partial summary judgment and reserves ruling an other issues until after further
             hearing on the motions for partial summaryjudgment and, in the case of MGA's affirmative
             defenses, until after the Phase 1 trial.

                                     The parties have made hundreds of objections to evidence offered in support of and in
                              apposition to the motions for partial summary judgment. Although counsel for Bryant requested

                             MINUTES FORM 90                                                                                                                                                            initials of Deputy Clerk: jh
                             CIVIL -- GFN                                                                                              Page 1




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                                       #:57435      Filed Q412512QQ8 Page 3 of 11


      explicit rulings on the objections raised by Bryant, the Court declines to do sa. To the extent that
      this Order necessarily reties on evidence subject to any parley's objections , the objections are
      implicitly overruled.

                                                 PREEMPTION

              MGA and Bryant seek summary judgment in their flavor as to Mattel's claims for intentional
      interference with contractual relations , conversion, and unfair competition, arguing that these
      claims are preempted by the Copyrigh# Act. They are partially correct.

             A state law is preempted by the Copyright Act where (1 }the wank at issue comes within the
     subject matter of copyright, and (2) the state taw rights are "equivalent to rights within the general
     scope of copyright[.]" Del Madera Properties v. Rhodes and Gardner. Inc., 820 F.2d 973, 977 (9th
     Cir.19$7). " If a state law claim includes an `extra elemen#' that makes the right asserted
     qualitatively different from those protected under the Copyright Act, the state law claim is not
     preempted by the Copyright Act_" Altera Corp, v. Clear Logic. inc., 424 F.3d 1079, 1089 (9th Cir.
     2005). Generally the Copyright Act does not preemp# the enforcement of contractual rights. Id.

            As to the first element, the intentional interference with contractual relations claim
     addresses generally an issue within the subject matter of copyright -- the underlying wrong upon
     which the claim is premised is Mattel's deprivation of rights to intellectual properly.

            As to the second element, it is clear that the tort of intentional interference with contractual
     relations is neither categorically preempted or categorically saved from preemption; rather, the
     Court must engage in a determination of whether the substance of the tort claim differs
     qualitatively from the copyright claim at issue. Compare Altera, 424 F.3d a# 1089 (holding that a
     intentional interterence claim was not preempted because it was based not on copyrights but on a
     contractual provtsian) with Laws v. Sony Music Entertainment Inc., 448 F.3d 1134, 1144 (9th Cir.
     2006) (holding preempted a singer's voice misappropriation claim was not qualitatively different
     from her copyright claim}.

             Here, #o the extent that the tortious interference is premised upon MGA's alleged
     interterence with any copyrights that Mattel may have under the inventions Agreement, it is
     preempted. Such a claim is not qualitatively different from Mattel's copyright claim. However, to
     the extent that the claim is based on MGA's acts that may be found to have aided and abetted the
     breach or induced the breach of Bryant's fiduciary duty, the claim is not preempted. That claim is
     qualitatively different from Mattel's copyright claim.

              Therefore, the tortious interference with contractual relations is preempted to the extent
     that it is based on Mattel's rights to Bratz. It is not preempted as to Mattel's claims for breach of
     fiduciary duty,

          The parties' arguments regarding the conversion claim address two distinct issues:
     Conversion of ideas and conversion of tangible things. The Court addresses each in turn.
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     CIVIL. -- GEC!                                  Page 2


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               Both sides acknowledge, as this Court certainly agrees, that one cannot copyright an idea.
       Thus, it would seem, a claim for conversion ofi ideas is not subject #o preemption because it is not
       "within the subject matter of copyright." Del Madera, 820 F.2d at 977. MGA argues that ideas are
       not subject to a claim of conversion, to which Mattel responds that such rights in ideas may be
       created by contract. Mattel relies an Desny v. Wilder, 48 Cal.2d 715, 733 (1956) which,
       remarkably, so holds. However, #hat case does not support the proposition that a breach of such
       rights may ba remedied by the tort claim of conversion rather than a breach of contract claim. The
       law in California regarding the tort of conversion's applicability to ideas remains the same today as
       in 1956: "The tort of conversion does not apply to ideas:" Melchior v. New Line Productions. Inc.,
       106 CaLApp,4th 77912003). Therefore, although this claim is net preempted, it is net actionable
       as a tort claim. Accordingly, summary judgment in favor of MGA and Bryant is granted as to this
       particular claim.

           Mattel also argues that its conversion claim is not preempted to the extent that it seeks the
    return of tangible things, most notably the original Bretz drawings. This claim is "within the subject
    matter of copyright," but the state rights go beyond the rights protected by the Copyright Act by
    allowing far the return of property.

            A# oral argument, counsel far MGA argued that Mattel seeks the rights that the drawings
    represent, not the "paper and ink" of which those drawings are comprised. Mattel disagreed with
    that interpretation, noting that it seeks the return of the original drawings and certain sculpts to
    which it may have rights under the Inventions Agreement.

            The items to which Mattel lays claim are not like the manuscript at issue in Dieisi v. Falk,
    916 F.Supp. 985, 992 (C.D. Cal. 1996), or the government documents at issue in t erne v.
    Dreamworks. Inc., 162 F.Supp.2d 1129, 1192-93 (C.D. Cai. 2401), bath of which had value merely
    for their ability to hold and convey their contents. Rather, the materials Mattel seeks are works of
    art that may have value apart from the copyrights they represent or the "paper and ink" and other
    materials of which they are comprised. Given the role of the drawings and sculpts in developing a
    new, commercially successful tine of fashion dolls, and given the role of these items in the present
    litigation, the Court discerns a passible inherent value to the materials themselves,

            MGA and Bryant also pressed at oral argument that Mattel had not advanced such a claim
    for return of tangible items. The Court disagrees. Citing to its Complaint at ^ 157, Matte!
    contends it has tong sought the return of tangible items.' An examination of Mattel's claim for
    conversion reveals that it encompasses such a claim. Therefore, the conversion claim seeking
    the return of tangible items is not preempted. MGA and Bryant's motions for summary Judgment
    on this issue are therefore denied.

             To the extent that Mattel's statutory unfair competition claim, discussed more fully below, is


              From a review of the record, it is clear to the Court that Mattel intended to
    cite ¶ '^ 57 of its Amended Answer and Counterclaims, not its Complaint.
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        based on copyright infringement, it is preempted, and the Court grants summary judgment in favor
        of MGA on this issue.

                                             STATUTE OF L!MlTAT14N5

               The Court heard argument at length an the statute of limitations issue. Although it is not
       entirely clear, it appears to the Court from the hearing and from MGA's Rule 56{f) affidavit, that
       there remain outstanding discovery matters that may have the potential, if resolved in MGA's
       favor, to factor into the inquiry into the determination of the date of the accrual of any claims
       against Bryant andlor MGA. Accordingly, the Court defers ruling on the issue of statute of
       limitations at this time.

                                             INVENTIONS AGREEMENT

               The Court addressed many issues of the enforceability of the Employee Confidentiality and
       Inventions Agreement jn its July 17, 2006, Order. The Court finds no good reason #o revisit or
       revise that Order.

               Bryant argues that the Inventions Agreement is ambiguous on the issue of whe#her it
       covered anything other than "inventions" as that term is used in patent law. Here, Bryant was a
       fashion designer. He signed an agreement #hat assigned his "inventions" to Matted. "Inventions"
       is defined by the agreement to include "designs," which was endeniably the focus of Bryant's
       employment with Mattel. In addition to assigning all rights to Bryant's "inventions" {i.e., "designs")
       to Mattel, the agreement also assigned to Mattel "all (Bryant's] right, title, and interest in any .. .
       copyrights ...and copyright applications based ion those inventions]".

              In order to conclude that the Inventions Agreement is ambiguous on the issue of whether it
       would include any copyrightable drawings or doll designs developed by an employee, the Court
       would have to read out of the agreement explicit terms assigning to the employer the rights to
       "designs," "copyrights," and "copyright applications." The Court is required to read the contract as
       a whole and, where possible, give effect to all its terms. Cai. Civ. Cade § 1641 {"The whole of a
       contract is to be taken together, so as to give effect to every part, if reasonably prat#icable, each
       clause helping to interpret the other."). To accept the interpretation advanced by Bryant, the Court
       would have to disregard this bedrock principle of contract construction by ignoring an explici#
       assignment by the employee to the employer of copyrights. The interpretation advanced by
       Bryant is therefore not reasonable, and the Court finds that the Inventions Agreement is not
       ambiguous on the issue of its scope with respect to capyrightable materials.

              The Inventions Agreement explicitly conveys to Mattel an employee's interest in any
       copyrights or copyright applications. Assuming copyrightability and the resolution ^of certain (as
       yet unresolved) issues of timing of creation andlor alteration in Mattel's favor, the original Bratz
       drawings clearly fall within the scope of the inventions Agreement.

              Moreover, the Inventions Agreement incorporates, and therefore does not violate,. Cal.

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        Labor Code § 287'0. Pursuant to #hat statute (and its incorporation in the Inventions Agreement),
        because the subject matter at issue --the Gratz dolls -- relate to Mattel's business of marketing
        fashion do11s, the factual question of whether Bryant worked an them on his own time, rather
        during his working hours at Mattel, is not relevant.

            MGA argues that contracts of adhesion are unenforceable if they are either outside the
    scope of the parties' expec#ations or #hey are substantively unconscionable. The Court previously
    determined.that the Inventions Agreement was not substantively unconscionable, and now
    determines that it is not outside the scope of the parties' expectations. As noted above, Bryant
    was a designer, and the plain language of the Inventions Agreement assigns his "designs" to his
    employer. Objectively, therefore, it would not be surprising that Mattel would lay claim to Bryant's
    rights to any doll or doll fashions he designed during the period of his employment with Mattel.
    Moreover, undisputed evidence establishes that Bryant's subjective understanding of the contract
    was that it transferred at least some of his rights to Mattel.

           Bryant also argues that his actions went no further than lawful preparations to compete with
    his employer. The undisputed facts, however, tell a different story: Bryant directly competed with
    Mattel by entering into a contract with its competitor to produce a competing product while sti[I
    employed by Mattel.

           The Court grants summary judgment in favor of Mattel on the issue of the enforceability of
    the Inventions Agreement and the issue of applicability of the inventions Agreement to any Bra#z-
    related "inventions" (including any designs, improvements, ideas, concepts, and copyrightable
    subject matter) that he is found to have created during the period of his employment with Mattel.

                                  DUTY OF LOYALTY AND FIDUCIARY DUTY

            Carter Bryant,. like a!I other California employees, owed a duty of loyalty to Mattel while
    employed there. S^ Cal. Labor Code § 28fi3. The undisputed facts establish that he breached
    this duty by entering into a contract with Mattel's competitor, while still employed by Mattel, to
    produce a line of fashion dolls to be marketed indirect competition with Mattel's products. See
    Huonq Que. Inc. v. Luu, 150 Cal.App.4th 400, 414 (2007) ("The duty of loyalty is breached, and
    the breach may give rise to a cause of action in the employer, when the employee takes action
    which is inimical to the best interests of the employer."} (internal quotation marks and citation
    omitted).

           Bryant also owed a fiduciary duty to Mattel by virtue of the language set forth in ¶ 1(a} of
    the Inventions Agreement. Id. ("The value of the Proprietary Information depends on it remaining
    confidential. The Company depends on me to maintain that confidentiali#y, and I accept that
    position of trust."). Under California law, a confidential relationship that gives rise to a fiduciary
    duty is created "where a confidence is reposed by one person in the integrity of another, and .. .
    the party in whom the confidence is reposed ... voluntarily accepts or assumes to accept the
    confidence ...." City Solutions. Inc. v. Clear Channel_Communications, Inc., 201 F.Supp.2d
    1048, 1050-51 (N.D. Cal. 2002). The inventions Agreement imposed such a duty on Bryant.
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          At the hearing on this matter, counsel contended that a required element far imposing a
   fiduciary duty --that the party with the duty be in a superior position to the party to whom the duty
   is owed -- was missing. That element is described as follows: "[Tjhe essence of a fiduciary or
   confidential relationship is that the parties do not deal on equal terms, because the person in
   whom trust and confidence is reposed and who accepts that trust and confidence is in a superior
   position to exert unique Influence over the dependent party." City Solutions, Inc. v. Clear Channel
   CommunicationsL.-_1Inc. 201 F.Supp.2d 1048, 1050 {N.D. Cal. 2002) {internal quotation marks and
  citation omitted). The "superior position" to which California courts refer in this context is not
  superior bargaining power -- a position on which Mattel would apparently have the edge -- but
  rather it refers to a superior position vis-^-vis the duty imposed. Here, because the duty Imposed
  upon Bryant was essentially to police his own actions by maintaining Mattel's confdentiality and
  communicating his awn "inventions" to Mattel, Bryant was "in a superior position to exert unique
  influence over" Mattel because he was in the best position, arguably the only one In a position, to
  know of and police his actions.

          As with the duty of loyalty, the undisputed facts establish that Bryant breached his fiduciary
  duty to communicate his Inventions to Mattel when, rather than doing so, he secretly entered into
  a contract with Mattel's competitor, while still employed by Mattel, to produce a fine of fashion
  dolls to be marketed indirect competition with Mattel's products.

         Accordingly, the Court grants Mattel 's motion for summary judgment on the issues of the
  existence and breach of the duty of loyalty. The Court grants Mattel's motion for summary
  judgment and denies Bryant's motion far summary judgment on the issue of the existence and
  breach of a fiduciary duty.

         In its motion, MGA argued that there can be no^liability for aiding and abetting a breach of
  fiduciary duty in the absence of a fiduciary duty. Because the Court has rejected this argument,
  the Court denies MGA's motion for summary judgment on this issue.

                INTENTIONAL INTERFERENCE WITH CONTRACTUAt_ RELATIONS

         MGA moved for summary judgment as to Mattel's claim far intentional interference with
  contractual relations.

          The elements of a claim far intentional interterence with contractual relations are stated as
  (1 } a valid contract between a plaintiff and a third party; (2) the defendant's knowledge of the
  contract; (3) the defendant's intentional acts designed to induce a breach or disruption of the
  contractual relationship; (4) actual breach or disruption of the contractual relationship; and
  (5} resulting damage. Fa it Hvme & Finance Center Inc. v. Federal Home Loan Mort . Cor .,
  4fi1 F.Supp.2d 1188, 1193 {C.D. Cal. 2006) (citing Pac. Gas & Elec. Co. v. Bear Stearns Co., 50.
  Cal.3d 1118, ^ 12fi (1990}),

         The undisputed facts show that the frst, third, and fifth elements are met. Mattel has
  raised a triable issue of fact as to the second. The fourth element may be resolved after the

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        Cour#'s further hearing on the motions far partial summary judgment. The Court therefore defiers
        ruling on this issue,

                                              UNFAIR COMPETITION

              MGA and Bryant's motions are granted in part and denied in part as to Mattel's unfair
        competition claims.

              Mattel's statutory unfair competition claim, brought pursuant to Cal. Bus. & Profs. Code
        § 17200, survives summary judgment because Mattel has raised a triable issue of fact as to ,
        whether MGA tortiously interfered wi#h Bryant and Mattel's contractual relationship and whether
        MGA engaged in commercial bribery.

               However, two bases fior this claim are foreclosed at this time. To the extent that the
        § 17200 claim is based on copyright infringement, it is preempted. To the extent that it is based
        on unfair conduct, summary judgment in favor of MGA is granted because the articulated unfair
        conduct does not approximate an antitrust violation that threatens competition. See Cel-Tech
          ommunications Inc. v. Los An eles Cellular Teie hone Co., 20 Ca1.4th 163, 186-87 (1999).

               As to Mattel's common law unfair competition claim, summary judgment in favor of MGA
        and Bryant is granted. This claim is not, as it must be, based on the act of passing off anothers
        goads as one`s own. See S bersound Records Inc. v. UAV Cor ., 517 F.3d 1137, 1153 (9th Cir.
        2008) (citing Bank of the W._,v;,,Superior Court, 2 Cal.4th 1254 (1992)).

                                             UNJUST ENRICHMENT

              Because Mattel failed to oppose this portion of Bryant's motion , the Court grants Bryan#'s
       motion far partial summary judgment on the issue ofi unjust enrichment.

                                           AFFIRMATIVE DEFENSES

              Mattel seeks summary judgment as to many of the affrmative defenses asserted by the
       MGA entities and Carter Bryant. Most of these defenses are essentially equitable in nature, and
       therefore file Court DEFERS RULING on them until after trial. Specifically, the Court DEFERS
       RULING on the affirmative defenses of abandonment, acts and omissions of others,
       acquiescence, consent, estoppel, failure to mitigate, lathes, unclean hands, and waiver until after
       trial.

             For the reason set forth above in a separate section , the Court defers ruling on Mattel's
       motion as #o the statute of limitations defense.

           The final affirmative defense is based on 17 U.S.C. § 205(d}. With this affirmative defense,
       MGA essentially contends that it is a bona fide purchaser for value of the Bratz copyrights which

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   Case 2:04-cv-09049-DOC-RNB Document 3337-9 Filed 04/28/08 Page 12 of 99 Page ID
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    #ook the rights in good faith and without notice of any prior transfer of the rights therein to Mattel.
    As file issue is argued by the parties, the Court would be required to determine the legal issue of
    whether MGA's registration of the copyrights as an "assignment" constitutes "cons#ructive notice"
    in the manner required to give MGA the protection of 9 7 U.S.C. § 205{d). In the Court's view, this
    is a complex legal issue that is not thoroughly addressed by the parties' briefs. Moreover, the
    Court notes that a trial on the merits is likely to resolve the less complex factual issue of whether
    MGA acted in good faith and without notice of an ea^1'ier assignment of rights. Accordingly, the
    Court DEFERS RULING on this issue until after the Phase 1 trial.
                                                     ^W**

           The Court will consider a number of remaining issues at the further hearing on these
    motions, set for May 19, 2008. Specifically, referencing the parties' Notices of Motion, the Court
    will consider the fallowing issues:

           Mattel's motion: ^ Issue (2)(c), whether there is a factual dispute regarding the timing of
    certain drawings and a dummy model; issue {3}, whether #helirst-generation Bratz dolls are
    substantially similar to seventeen drawings and a doll sculpt drawing or blueprin# created by
    Bryant and whether those are original, pro#ectable works of expression; issue {5), whether MGA
    and Larian are liable for aiding and abetting Bryant's breaches of the duty of loyalty and fiduciary
    duty; and issue (6}(a) whether Mattel is entitled to summary judgment as to the affirmative
    defense of statute of limitations.

           Bryant's motion: Whether Bryant is entitled #o summary judgment as to Mattel's claim far
    copyright infringement; whether Bryant is entitled to summary judgment as to Mattel's breach of
    contract claim; and whether Bryant is entitled to summary judgment on any portion of his claim for
    declaratory relief.

            MGA's motion: Whether Mattel's claims are time barred; and whether the fourth element of
    intentional interference with contractual relations -- actual breach or disruption of the contractual
    relationship -- can be resolved on summary judgment.

           Except far any updates from any party regarding the outstanding discovery matters that
    may be relevant to the statute of limitations, these issues are considered by the Court to be fully
    briefed. Any supplemental briefs by the parties on any issue other than the statute of limitations
    will be stricken by the Court, Any supplemental filings regarding the statute of limitations issue
    shall be limited to addressing the status of outstanding discovery issues andlor recently produced
    evidence.

           IT IS SO ORDERED.




   MINUTES FORM 90                                                                  initials of Deputy Clerk: jh
   CIVIL -- GEN                                    Page 8




^^^^^       ^^^
       Case 2:04-cv-09049-DOC-RNB Document 3337-9 Filed 04/28/08 Page 13 of 99 Page ID
            Case 2:04-c^-09049-SGL.-RNB Document 3286
                                           #:57442    Filed 04/25/2008 Page 10 of 1 ^


                                                  NOTICE PARTY SERVICE LIST
          Case No.      CV 04-09049 SGL RNBx                Case Title Carter B ant v. Mattel, lnc.
          Title of Document Minute Order of A ril Z5, 2008

                  Atty Sttimnt Officer Panel Coordinator                                  [!S Attorneys Office -Civil Division -L,A.

                  BAP (Bankruptcy Appellate Panel)                                        US Attorneys Office -Civil Division - S.A.

                  Beck:, Michael J (Clerk, MDL Panel)                                     US Attorneys Office -Criminal Division -L.A,

                  BOP (Bureau of Prisons)                                                 US Attorneys Office -Criminal Division -S.A.

                  CA St Pub Defender (Calif. State PD)                                    US Bankruptcy Court

                  CAAG (California Attorney General's Office -                            US Marshal Service -Los Angeles {USMLA}
                  Keith ll. Borjon, L.A. Death Penalty Coordinator)
                                                                                          US Marshal Service - Riverside (USMED)
                  Case Asgmt Admin (Case Assignment
                  Administrator)                                                          US Marshal Service -Santa Ana (USMSA}

                  Catterson, Cathy (9`s Circuit Caurt of Apgeai}                          US Probation Office (USPO)

                  Chief Deputy Admin                                                      iJS Trustee's Offrce

                  Chief Deputy Ops                                                        Warden, San uentin State Prison CA

                 Clerk of Court
                                                                                          ADD NEW NOTICE PARTY
                 Death Penairy I-I/C {Law Clerks}                                 ✓       (if sending by fax, mailing address must aiso he
                                                                                            rovided
                 Dep In Chg E Div
                                                                                  Nye: Ambassador Pierre-Richard Prosper
                 Dep In Chg So Div
                                                                                  Firm:
                 Federal Public Defender
                                                                                  Address (Include suite orJloorJ: P.O. Box 581103
                 Fiscal Section
                                                                                  Salt Lake City, UT 84158
                 Intake Section, Criminal LA

                 Intake Section, Criminal SA                                      *E-mail: Prosper.Pierre@Arentfax.COm
                 intake Supervisor, Civil                                         *Fax b€o.:
                 PIA Clerk -Los Angeles {PIALA}                                     ror
                                                                             Il        I JUDGE/MAGISTRATE JUDGE fldst 6elafv): II
                 PIA Clerk -Riverside (PIAED)
                 PIA CIerk -Santa Ana (PIASA)
                 PSA -Los Angeles (PSALA)
                 PSA -Riverside {PSAED)

                 PSA -Santa Ana {PSASA)

                 Schnack, Randall (C3A Supervising Attorney}                                             Initials of Deputy Clerk Jh


                 Statistics Clerk

        G -75 (03107)                                          NOTICE PARTY SERVICE L15T




^^^^     ^^^
       Case 2:04-cv-09049-DOC-RNB Document 3337-9 Filed 04/28/08 Page 14 of 99 Page ID
           Case 2:04-cv-09049-SGL-RNB Document 3286
                                          #:57443     ^'91ed 04/25/2008 Page 11 of 11


                                                 N^TYCE PARTY SERVICE LIST
          Case No.     CV 04-09049 SGIJ(RNBx^              Case Title Carter Bryant v. Mattel, Inc.
          Title of Document Minute Order of April 25, 2008

                 Atty Stthnnt Officer Panel Coordinator                               US Attorneys Office -Civil Division -L.A.

                 BAP (Bankruptcy Appellate Panel)                                     US Attorneys Office -Civil Division - S.A.

                 Beck, Michael J (Clerk, Ml]L Panel}                                  US Attorneys Office -Criminal Division -L.A.

                 BOP (Bureau of Prisons)                                              U5 Attorneys Office -Criminal Division -S.A.

                 CA St Pub Defender {Calif State PD)                                  US Bankruptcy Court

                 CAAG (California Attorney General's Office -                         US Marshal Service -Los Angeles {USMLA}
                 Keith H. Borjon, l..A. Death Penalty Coordinator)
                                                                                      US Marshal Service - Riverside {USMED)
                 Case Asgmt Admin {Case Assignment
                 Administrator}                                                       US Marshal Service -Santa Ana (USMSA)

                 Catterson, Cathy {9`^ Circuit Court of Appeal)                       US Probation Office (USPO)

                 Chief Deputy Admin                                                   US Trustee's Office

                 Chief Deputy Ops                                                     Warden, San Ouen#in State Prison, CA

                 Clerk of Court
                                                                               ✓      ADD NEW NOTICE PARTY
                 Death Penalty H/C (I,aw Clerks)                                      (if sending by fax, Rsailing address must also be

                 Dep In Chg E Div
                                                                              Name: Hon. Edward A. Infante (Ret.)
                 Dep In Chg So Div
                                                                              Firm:
                 Federal Public Defender
                                                                              AddrC55(fncludesuiteorJloor): TWO Enll)aTCaderO
                 Fiscal Section
                                                                               Center, Suite I 500, San Francisco, CA 941 I l
                 Intake Section, Criminal LA

                 Intake Section, Criminal SA                                  *E-mail:
                 Intake Supervisor, Civil                                     *1'ax No.:
                PIA Clerk -Las Angeles (P1ALA)
                 PIA Clerk -Riverside (PIAED)
                PL4 Clerk -Santa Ana (PIASA}
                PSA -Los Angeles {PSALA)
                PSA -Riverside (PSAED}
                PSA -Santa Ana (PSASA)

                Schnack, Randall (CdA Supervising Attorney)                                          In€tials of Deputy Clerk Jh


                Statistics Clerk


        G-75 {03/Q7)                                          NOTICE PARTY 3 .RVICE LIST




^a^^        ^^
Case 2:04-cv-09049-DOC-RNB Document 3337-9 Filed 04/28/08 Page 15 of 99 Page ID
                                  #:57444




                               EXHIBIT 79
        Case 2:04-cv-09049-DOC-RNB Document 3337-9 Filed 04/28/08 Page 16 of 99 Page ID
                                          #:57445




             i QUINN EMANUEL URQUHART OLIVER & HEDGES, LLP
                   John B . Quinn (Bar No. 090378)
             2      ohnquinn quinnemanuel.com
                   ^ichael Teller (Bar No. 196417)
             3     ^michaelzelIer@quznnemanuel.com)
                    on D. Corey (BBar No. 1$5066
             4     ^j_oncorey^a quinnemanuel.com
                  865 South Figueroa Street, 10th loor
             S    Los Angeles, California 9001'1-2543
                  Telephone: 213 443-3000
             6    Facsimile :   213 443-3100
             7 Attorneys for Mattel, Inc.
             S                              UNITED STATES DISTRICT COURT
             9                          CENTRAL DISTRICT OF CALIFORNIA
            10                                   EASTERN DIVISION
            11    CARTER BRYANT, an individual,          CASE NO. CV 049049 SGL (RNBx)
                                                         Consolidated with
            12                 Plaintiff,                Case No. CV 04-09059
                                                         Case No, CV OS-02727
            13          V S.

            14    MATTEL, INC., a Delaware               EXPERT REPORT OF RALPH OMAN
                  corporation,
            15                                           Phase X
                               Defendant.                Discovery Cut-Oft':     January 2$, 200$
            16                                           Pre-Trial Conference:   May 5 200$
                                                         Trial Date:             May 2^1, 2008
            17 AND CONSOLIDATED ACTIONS
            18
            19
            20
^     =     21
rri   --
      cav
      -=^   22
 ^          23:
 ^          24
            25
            26
            27
            zs

                                                                          EXPERT REPORT RALPH OMAN
     Case 2:04-cv-09049-DOC-RNB Document 3337-9 Filed 04/28/08 Page 17 of 99 Page ID
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                  1                         EXPERT REPORT OF RALPH OMAN
              2                     I have been retained by attorneys for Mattel, Inc, ("Mattel "). This
              ^3 report is submitted pursuant to Fed . R. Giv, P. 25 (a)(2). T reserve the right to
              4 supplement or amend this report pursuant to Fed . R. Civ. P, 26 {e) if additional
              5 information affecting my opinion becomes available.
              ^                                       OCIALIF)€CATTONS
              7                    Currently i am Practitioner-inwResidence at the George Washington
              S University Law School in Washington , U.C. I have 32 years experience in domestic
              9 and international copyright administration . My qualifeations, which are set Earth in
             10 my curricuCum vitae attached as Exhibit A, include my education, training, and
             11 experience in the area of U.S. Copyright Office practice and procedure.
             12                    From 1985 through 1993, I served as the Register o#' Copyrights of the
             13 United States. As the Register of Copyrights , I was the chief government official
             1^F responsible for administering the U.S. copyright system. Among other
             15 responsibilities, the Register of Copyrights supervises the work of the corps of
             16 examiners and rules on the copyrightability of warps . 7 am familiar with the U.S.
             17 copyright law and U . S. Copyright Offce rules, regulations, practices, and
             1$ procedures, including those that relate to the registration of pictorial , graphic, and
             19 sculptural works. During zny tenure, I supervised the revision of the Carnpendium
             20 of Copyright Off ice Practices, which is a manual of practices and procedures that is
^ • x        21 primarily intended for the use of the Copyright Off ce's staff X supervised the 1990
^ _
^ ^          22 revision of Circular 40, which is an official publication that summarizes the
    -=^
             23 registration and deposit procedures for works of the visual arts, including drawings,
^ ^ ^        24 prints, scn.Iptural works, and dolls and other 3-dimensional works based an 2-
      ^      25 dimensional designs. This publication is intended for use by the general public.
             26                    As the Register of Copyrights, T acted as principal advisor to the U.S.
             27
                      Congress on copyright legislation, and served as principal advisor to the U.S.
             2$

                                                                                   EXPERT REPORT RALPCi OMAN
      Case 2:04-cv-09049-DOC-RNB Document 3337-9 Filed 04/28/08 Page 18 of 99 Page ID
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               1 ^^ Department of State on intemationaI copyright matters, including drafting,
               2
                   ^ negotiating and implementing interiaational copyright treaties. During my tenure as
               3
                    Register, I testif ed mare than 40 times before Congress an proposed copyright
               4
               5 legislation, and I helped move the United States into the Berne Convention for the
               5
                   ^ Protection of Literary and Artistic Warlcs.
               7
                                 Before becoming Register, I served in ather government positions,
               8
              9 including Chief Counsel of the U.S. Senate Subcommittee on Patents, Copyrights,
             14
                   I and Trademarks, and Chief Counsel of the Senate Subcommittee on Criminal Law.
             11
             12^ I also served as Chief Minority Counsel on the Senate Subcommittee on Patents,
             13 ^ Tratlemarlcs and Copyrights from 1975 to 1977. In that capacity, I participated in
             ]4
                   )the final drafting and negotiations that led to passage of the landmark U.S.
             IS
             16 ^ Copyright Revision Act of 1976, the ewrent statute.
             17                  I am a graduate of Hamilton College (A.B., 196z) and Georgetown
             IS
                   ^ University Law Center (J.D., 1973). I am a member of tlae bar for the District of
             i9
             zo Columbia. T ain a Past Preside^at of the Giles S. Rich American Inn of Court (which
             21 is the intellectual property Inn for Washington, D.C.), a former Trustee of the
^
s^   x
     s
     W       zz
                   Copyright Society of the United States of America, and the American. Bar
     -^      23
             24 Association's Liaison to the Committee on Copyright at the World Intellectual
 ^ ^         2S Property Organization in Geneva. In 2QOZ, I received the Jefferson Medal from the
 ^    ^
             26
                   New Jersey Intellectual Property Law Association, in recognition of my lifelong
             z7
             28 commitment to the protection of intellectual property.

                                                                                ^^ar :^o^x x.Ar..^x o^Arr
     Case 2:04-cv-09049-DOC-RNB Document 3337-9 Filed 04/28/08 Page 19 of 99 Page ID
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               11                 At the George Washington University Law School I teach U.S.
               2 copyright law, including Copyright Office registration procedures and the
               3,
                  registration of works of the Visual Arts. I have written numerous articles and
               4:
               5^ delivered many speeches addressing copyright and related rights, and I have testif ed
               5
                    ^ as an expert in the area of copyright law in a number of judicial proceedings . A, list
               7
                    of the articles and ma,^or policy speeches I have authored in the past ten years on

               9 subjects relating to copyright law is attached as Exhibit B. My prior testimony is
              10;
                    ^ listed in the attached Exhibit C. I am also the author of a book entitled Copyright^.
                                                                                                       h
              111
                    En ine of Develo meat , published by UNESCO; In 1993, I received the
              12
              13 1 International Book Award from the International Publishers Association.
              I4
                                                      COMPEN5ATTUN
              IS
                                  My work on this case is being billed at zny standard rate of $354 per
              16
                    hour. My payment is not contingent upon the outcome of the case.
              17
              1$                                 MATERIALS REVIEWED
              19                  In the preparation of this report and for the expert testimony that I may
             za be called upon to provide, I reviewed the Plaintiff's Complaint in case number
             21
                                                                      and Counterclaims in
^    ^       22 CV05-02727 and the Defendant' s Second Amended Answer
^    ^
r^   ^
             23 case number 052727, along with the exhibits thereto. I reviewed the copyright
             24
                    registration certificates and the snpplernentary registrations far the works involved
             25
     9
             26 in this litigation, along with the deposit material, and I reviewed the affidavit of
             27 'Isaac Larian Ina 2002 Hong Kong case, ABC International Traders Inc. doin
             28

                                                                                   EXPERT ItEPOItT R4LPH OMAN
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                 1 ^^ business as MGA Entertainment r+. T^s & Trend^Hong Kong Limited. And I
                 2
                      ^^ also reviewed both volumes of the deposition of Bryan Armstrong in this ease, the
                 3
                       deposition of Samir Kumar Khare, the six (5) Affidavits of Daphne

                 5 Gronich, Esquire, General Counsel of MGA, the three (3) afFrmations of Lee Shiu
                .6
                       Cheung, Managing Director of MGA Hong Kong, the Affirmation of Wai Lim Fan,
                 7
                       MGA's Hong Kong Solicitor, and a portion of MGA's Response to Mattel's

                 9 Amended Supplemental Interrogatory Regarding Defendant's Affsimative Defenses.
                10 Finally, X have examined certain l3ratz dolls.
                11
                                                         EXPERT aPINIQN
                12
                13            A.     Sam .

                14.                 Eased on my experience as the Register of Copyrights, I would like to

                15 J explain the nature of the registration system in the H.S. Copyright C}ffice and the
                16^
                      J significance of registration certificates. in the context of that discussion, I will also
                17
                18 J offer comments on the significance of supplementary registrations that seek to
                19 correct or amplify the facts that were stated in the original applications. And, last, T
               20
                      will comment on the registration of a twa -dimensional artwork and its relationship
               21
-v    ^
^     g        22 to athree-dimensional work that derives from it, and the nature of the copyright
r^    ^        23 deposit that is required by Copyright Office regulations when filing the original
      =^
               24
                      registrataan application.
               25
 C^            z^                   At the outset, it is important to keep in mind that the copyright system

               27 is very different than the patent system. For patents, the C7.S. Patent and Trademark
               28

                                                                                       EXPF.IZT REPORT RALPH OMAN
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                 1 Office actually grants patents. Either the Office issues the patent, or it doesn't. If it
                2 doesn't grant the patent, you don't have one. For copyrights, the Copyright Office
                3
                  registers a "claim" to copyright. Tt doesn't grant the copyright, Only a court can
                4
                5 deem a copyright enforceable.
                6
                           B.     Tl#^e Practices and Procedures of the U.S. Conyri^ht Off ce
                7                 Re ardin the Re 'stratiion of Pictorial Gra hic and Scnl tural
                8
                                  Works
                9                 The Copyright Act defines "pictorial, graphic and sculptural works" as
               14'
                     "two-dimensional andthree-dimensional works of fine, graphic, and applied art...,"
               11'
               12 17 U.S.C. § 101. In order to register atwo - orthree-dimensional work, the owner of
               13
                     that work must comEply with the practices and procedures described in the Copyright
               14
                     Act, the Code of Federal Regulations, and Circulazs 44 and ^FOA (Copyright
               15
               16 ^ Registration for Works of the Yisual.4rts,l^eposit Requirements in ^'isuat ^irts
               17
                     Material). I will explain these practices and procedures from my vantage point as
               18
               l9 ^ the former U.S. Register of Copyrights.
               24                >i.    Aanlication Requirements.
^ ^            21                In order to register a claim to copyright in a work with the Copyright
^ _
rrr   ^,       22
                     Office, the applicant must complete the relevant application form, which varies
               23
               24 depending upon. the nature of the work. In the case of a drawing or doll, the
      9        2S applicant typically uses uses "Form VA," which stands for "visual arts.'i
               26
               27
               28

                                                                                  EXPER71tEPO^LT RALPH O1V1AN
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                 1                      {a)    Title of the Wont.

                 2               In order to complete Form VA, the applicant should identify the title of
                 3
                 4 the work. on line 1 of the application.

                 S                      (la)   Nature of the Work.

                 ^                The applicant should also idertify the nature of the work on line l of
                 7
                 $ the apllication. The nature of work space was added to form VA, because this form

                 9 "covens] a number of different categories of works, and it was believed the

                1 ^ additional information would clarify the general character or the type or category of
                ll
                12 the work being registered." Copyright Office, ftegistratiorz o}'Claims to Copyright,

                13 65 Fed. Reg. d1,508 {Jul S, 2000). Although the "nature of authorship" statement

                1 ^ on line 2 is the "primary source" for identifying the nature of the applicant's claim
                15
                16 (as modified by the "derivative works" s#aternents on Tines b(a) and 6(b} (if any}),

                l7 the nature of work statement^usually provides "a supplementary description

               1 ^ augmenting the statement of authorship." See id. For instance, if the applicant
               19
               24 submitted a photograph of an empty room, checked the "2 Dimensional Artwork"
^ x
^ ^.
rn ^           ?1 box on line 2, and wrote "wallpaper" in the nature of work space, the examiner
               22
                  would assume that the applicant intended to register the wallpaper design that is
               23
^   ^
               24 shown in the photograph, rather than the photograph itself, Together, these .

               25 statements put the world on notice concerning the nature of the work that the

               Zb applicant has created, and the nature of the authorship that appears in that work,

               Zg However, they do not define the specific metes and bounds of the copyright in that


                                                                                EXPERT REPQTZT RALPff aMAN
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                1 ^ work. The metes and bounds of the copyright are defined by the deposited work
                2
                    ^ itself, and by judicial interpretation.
                3
                                          (c}     Name of the Author.

                                   The applicant must provide the name of the person who created the
                6 warlc online 2.
                7
                                          {d)    Nature of Authors6ru.
                8
                9                  The applicant must describe the Nature of Authorship on line 2. The
               la applicant does not have to describe the nature of his or her authorship in any detail,
               11
               12 The applicant is only required to check the boxes that are printed on line 2 that
               13 -correspond to the type of authorship that the author has created {e.g., " 2
               14
                    Dimensional Artwork" for a fabric design, " 3 Dimensional Sculpture" far a garden
               15
               16 gnome, "Jewelry Design" for a bracelet, etc.}.
               17                         (e)    natc of Publication.
               18
                                  Next, the applicant must identify the year in which the work was
               19
               20 created (line 3{a}}, and the specific date and nation where the work was fast
              21 published (line 3(b))..If the work bas never been published, the applicant should
^ ^
^ _
m --
   r^         22
                    leave line 3(b) blank, "Publication" has a very specific meaning. It is "...the
     -=a      2^
C^            2^ distribution of capies...of a work to the public by sale or other transfer of
              25 ownership.... The offering to distribute capies...to a group of persons for purposes
              26
                 of further distribution...constitutes publication ." 17 U.S.C. Section 101.
              27
              28

                                                                                 EXPERT REPOitT RAL^Fi OMAN
     Case 2:04-cv-09049-DOC-RNB Document 3337-9 Filed 04/28/08 Page 24 of 99 Page ID
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               1                         (t^    ^ogvx^i^ht Qwnership,

              2                   The applicant must provide the name and address of the copyright
               3
                   claimant online 4, The copyright claimant is the person who owns the copyright in
              4
               5 the work that the applicant has sought to register , In most cases, the author and the
               5 copyright claimant will be the same person. However, if they are different, the
               7
                   applicant must explain how the copyright claimant obtained his or her ownership of
               8
               9 the copyright on line 4. The Copyright Office will normally accept a general .            `

              10
                   "transfer of ownership " statement, such as "by aS51gi]7neIIt ," "by Will," "by
              11
                                and the like.
              12 ^ contract,"
              13                         {g)    Previous Registrations.
              I4
                                  If the work or a prior version of that work were previously registered
              15
                                                            should disclose that information on line S of
              lfi with the Copyright Office , the applicant
              17 the application form . If so, the applicant must provide the previous registration
              18
                   number , and must explain why he or she seeks another registration.
              l9
^   ^                                    ($)    Derive#iye 'VVorks.
             2a
    m




i^
I   .=.^     21                   If the work is based upon or contains a substantial amount of, for
             z2
                   example, previously registered or public domain ma#erial, the applicant should
             23
             24 identify that preexisting work or material an line 6{a) of the application. This is
             25 known as a "derivative work statement." In addition, the applicant should identify
             26
                   the new and original material that the author has added to that preexisting material
             27
             2$ by describing that new material an line b{b} of the application, This is known as the

                                                                                 EXPERT REPORT RAT.1'H OMAN
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                l ^ "material added" statement. The material added statein.ent "generally delineates the
                2 ^ extent of the claim" in the new material that the author has created above and
                3
                     beyond the preexisting material that the applicant has identified on line 6(a).
                d
                5 ^ Compendium II § 325.02.
                6                 The applicant does not have to describe each aspect of the preexisting
                7
                     material that appears in the work, or each aspect of the new material that he or she
                S
                9 has created. Instead, the applicant may provide a brief, general statement sufficient
               id'
                     to identify the preexisting material, such as "previous version," and, if necessary, a
               11
                     brief, general statement sufficient to identify the new material that the author has
               12
               13 added to the work, such a5 "revised version," "artistic reVlsiOns," "additional
               14
                     material," or the like. In this respect, asmentioned-above, the examination process
               l5
                     at the U.S, Copyright Office is more informal than the examinations that are
               16
               17 conducted at the U.S. Patent and Trademark Office. When an applicant files a
               18
                     patent application, the applicant must submit a list of "claims" describing each
               19
                     aspect of the invention in great detail. If, after review, the examiner determines that
               20
^ ^            21 the applicant's inventing is truly new and non-obvious, the Patent and Trademark
r^€ i^
      -^,      22
                     Office will issue a patent for the invention. 13y contrast, Copyright Office
               23
^      ^
+5'            24 examiners are not expected to make, and do nat make, these types of evaluations.
               25 The examiner will accept a general statement concerning the preexisting material
               z6 that may appeaz in the work, and a general statement concerning the new material
              27
              28 that has been added to that work. As a general .rule, the examiner will not compare

                                                                                   ExPERT REPORT RALPH OMAN
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                   the new work #hat has been submitted with works that have been registered in the
              2.
                   past to determine if these statements are correct, or to determine if the new material
              3
                   qualifies quantitatively and qualitatively for copyright registration.'
              4
              5                 Let me expand a bit an this point, because it is very important in the
              b
                   context of this case. This difference between the patent exaro ,inatiozR system and the
              7
                   copyright examination system has an important consequence, Fax a patent, the

              9 inventor must fully disclose all of the technical particulars of the invention so that
             10
                   others can understand the invention completely , reproduce it, refiine it, build on it,
             11
                   invent around it. That full disclosure is a vital part of the patent bargain. In
             I2
             13 ^ exchange of that disclosure the inventor gets 20 years of exclusivity to exploit the
             I^
                   invention.
             15
                                For a copyright, on the other hand, the registration serves a vastly
             16
             17 different purpose. The creator is frequently pernutted to deposit a photograph of a
             I$
                   3-dimensional work or a drawing of the work, because the purpose of the deposit is
             19
                   not to enable the reconstruction of the work at a later date , but for three other
             ZO
    ^c
             21 (purposes: (1) .to enrich the collections of the Library of Congress, (2) to let the
    ^a
             22
             23
                      3 When 7 served as Register of Copyrights, the Turner Broadcasting Company
6            24 sought to register colorized versions ofblack and white films that were either in the
r
                public domain ar owned by TBS. ^ insisted that TBS submit a pristine copy of the
             25
                black and white version of each f lrn so that the examiner could determine if the
             26 colorization process added any new material to those preexisting works. 1 note,
                however, that this procedure was the exception to the general rule. Tn mast cases,
             27
                the examiner makes this determination . based solely on the statements that appear in
             2$ lines 6(a) and (b).

                                                                                  EXPERT REPOKF RALPH OMAN
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              1 examiner confirm that the work contains at least a minimal level of creativity to
              2' satisfy the (admittedly low) standard for registration, and (3) far identification
              3
                   purposes in case of litigation. For many works, including toys and dolls, the Library
              4^
              5i has no interest, so a deposit of the actual work itself is not required. For example,
              6: the Library normally having no interest in unpublished databases, Copyright Of#ice
              7
                   regulations permit the creator of an unpublished database to mask out large portions
              8
              9 ^ of the work if it contains trade secrets or other sensitive information. Similarly, a
             10.
                   computer programmer can block out large portions of the program's source code to
             11
                   protect proprietary information or valuable code. In some cases, the programmer.
             12
             13 can refuse to supply any source code at all, and supply instead a sample of the object
             i4
                   code, which is indecipherable. Moreover, a remitter can request special relief from
             1S
                   the deposit requirement entirely, based on undue burden, cost, or hardship. None of
             16
             17 these exemptions to full disclosuxe would^be permitted in a patent application.
             18
                                Fox these reasons, Samir I{hare is incorrect to say in his deposition on
             l9
                   page 2S8 thatthetwo-dimensional drawings of the dally cannot have been intended
            20
m   v^       2I to register the dolls themselves, Confusing patents and copyright, he says thatst is
    -^      22
                   ". , ,impossible [to] ga from a 2-D flat drawing to a 3-D doll. You simply can't....
            23
            24 (The 2-D drawing] doesn't give you any dimensions at all.... You simply don't
            25 capture enough detail." Without dimensions, technical speciflcatian, and
            26
               manufacturing techniques, he suggests, one ca^anot reconstruct the dolls. His
            27
            28 analysis misconstrues the basic rationale of the copyright registration system and the

                                                                                ^xP^r x^ox^r a^.rx vex
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                ^i   purpose of the deposit requirement. The drawings of the dolls fulfill the deposit

                z requirements of the Copyright Off ce. They show the sufficiency of authorship for
                3
                     registration purposes, and they permit the identification of the works for which
                4
                S protection is claimed. ,The drawings therefore are the proper deposit far the dolls.
                6                        {i}    Certification.
                7
                                   Finally, the applicant must provide the name of a person who the
                8
                9 Copyright Qffice should contact if the examiner has any questions concerning the
               is
                     application (line 7), and the applicant must sign a certification on line 8 confuming
               1I
                     that the statements in the application are correct to the best of the applicant's
               1Z
               13 lmowledge. Any person who knowingly makes a false representation o£ a material
               14
                     fact in the application, or in a written statement f led in connection with that
               15
                     application, may be fined up to $2,SOU. {See 17 U.S.C. § 5^6(e}.) Normally, in a
               l6
               17 case involving a willful false representation, the Copyright Qffice would also cancel
               18
Za                   the registration.
      ^:       l9
rr^                                Generally speaking, the Copyright Office insists an acc^u-acy in
               20
               21 copyright applications. Xf the Copyright Office registers the claim, or refuses to
               22
                     register the claim, the court can draw conclusions frown that off ce action. But if the
               23
               24 applicant deliberately manipulates the process and thereby short circuits an
               25 informed assessment by the Copyright Office, then that purpose is thwarted. For
               26
                     'that reason, the consequences of misrepresentation could be serious. if an applicant
               27
               28 makes a rnateriai misrepresentation or a material omission in the application farms

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                        i ^ or deposit materials, and i£ that misrepresentation or omission would have otherwise
                        2
                             ,prompted the examiner to reject the application, the registration could be invalidated
                        3
                             ^ for committing fraud on the Copyright Office.
                        4
                        S                  2.    Ileposi# Requirements
                        b                  To register a pictorial, graphic, or sculptural work in the copyright
                        7
                              Office; the applicant must provide the Office with a representation of that work,

                             !, Normally, as discussed above, the applicant will submit a photograph or a drawing
                        9
                       1Q that is sufficient to identify the work that the applicant seeks to register. In many
                       ll
                              cases, the Copyright Office prefers not to accept physical samples of these works
                       12
                             because of spatial constraints and because the Library of Congress has no interest in
                       13
                       1^ adding dolls. and other ephemera to the collection of the national library.
                       1S
                                          3.     Filing Fee
                       16
                                          in order to register a pictorial, graphic, or sculptural woxk, the applicant
                       l7!
                       18 ^ most pay the usual non-refundable fee of $5.00 for each application, which is
                       l9 ^ intended to recapture a portion of the cast of processing all of the paperwork.
^ ^
r^s ^
                      zo                  ^.     The Examination Process
I       -=^           21
                                          When the Copyright Office receives an application, the Receiving and
                      22
    ^    f            23 ^ Processing Division stamps the application farm to indicate the date that the
                      24 application, the fee, and deposit were f led with the Copyright Office and sends the
                      25
                             $45A0 fling fee to the U'.S. Treasury, Yf the Copyright Office subsequently issues a
                      26
                      27
                      28

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              1 ^ regrstration certificate for the application, the filing date becomes the effective date
             2
                  I^ of the registration.
              3
                                  Next, the Copyright Office Receiving and Processing Division sends
             4
              5 the application and deposit to the Examining Division where the file is assrgned to
             d
                   an examiner. The examiner will review the application and deposit material to
             7
                   determine whether or not they are complete, and whether or not the work constitutes
             8
             9 copyrightable sub,^ect matter. Doer the past 20 years, this process has become
            10
                   increasingly streamlined and automa#ed -^ a madernizativn that began during my
            11
            12 tenure as Register-- due to the large number of applications that the Copyright
            13 Office receives each year, and the great pressure #o reduce cysts and downsize the
            14
                  staff of the Office. In fact, in mast cases the examiner will review each routine
            15
            16 f application for roughly 1 to 5 minutes , and then will move on #o the next application
            17 in the stack.
            18
                                 As discussed above, the examination process at the U,S. Copyright
            19
^   ^       20 'Office is very different than the examinations that are conducted at the U.S. Patent
    W
            zl and Trademark Office. Some would say that it is Less rigorous, but that would
            22
               confuse the puzpose of the two examinations. For instance, the Copyright Uffice
            23
6
            24 examiner will not conduct an independent investigation to determine if the work for
            25 which registration is sought were created by the person who has been identified on
            2&
               line 2 of the application. Likewise, the examiner will a.ot second^guess the date of
            27
            28 publication specified on Iine 3, or compare the applicant's work with an earlier

                                                                               EX1'B^tT REPQR'!' RAL^Fi OMAN
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             .l' ^ similar work to determine if the new work contains enough new material to merit a
              2 new copyright registration -even if the applicant has provided a "derivative work"
              3
                statement on lines 6(a) and 6(b). Instead , the e^caminer will normally rely solely on

              5 '^ the information that the applicant provided in the application form, along with the
              6 certification on line 8' which states that this information is correct. Of course, if an
              7:
                 ^ author subnuts a work that is known to be in the public domain, such as "The Star-
              8
              9 ^ Spangled Banner" or "The Lord's Frayer," the examiner would question the
             IO
                   ^ application.
             li
                                    In examining an. application, the examiner will determine if any portion
             I2^
             13 of the work can reasonably be construed to contain copyrightable authorship. if the
             l4
                   nature of work statement or the material added statement mentions material that
             lS;
             36 ^ both falls within, and does not fall within, the subject matter of copyright - such as
             17 ^ "artwork and layout" for a book -the examiner normally will annotate the
             18
                   ^ application to indicate that the presumptions that attach to the registration only cover
             l9
-o
^
     ^
     ^       20 ^ the author's material that is copyrightable -such as "artwork" (with "layout" not
^    ^       211 ^ eligible for protection), If the nature of work or the material added statement
i
             22
                   ^ contains claims that are unacceptable as a matter of law - e.g., "ideas," "process," or
             23
6'           24 "concepts" -the examiner will contact the person identified on Iine 7' by telephone,
             2S email, or letter to make certain that the claim to copyright actually comprises
             26
                   eopyrightable subject matter.
             27
             28


                                                                                  ^^aRr a^oR^r ^uPH on^,ax i
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                   1                 If the examiner finds that the work likely satisfies at least one of the
                2
                       ^ statutory registra#ion requirements, he or.she will approve the work for registration,
                3
                       create an online record, and send the package to tl^e unit that generates the
                4
                5 registration certificate. Tf the work has been published , the Copyright Office will
                6
                       assign a registration number beginning with the letters "VA," which , as already
                7
                       mentioned, stand for "visual arts ." Ifthe work is unpublished, the Office will assign
                8,
                9^ a registration number beginning with the letters "VAu," Yf the examiner determines
               XO
                       that the work fails to safisfy the statutory registration requirements , he or she will
               11
               I2 issue a formal refusal, and will explain the basis for the refusal in writing.
               13 Rejections are infrequent.
               14
                                    5.     Su laments        Re istrations
               15
                                    If a registration certificate contains an error or omission, the registrant
               l6
               17 can correct that mistake with a "supplementary registration." A supplementary
               18 registration does not replace the original - or "basic" --registration certificate, but it
^     ^        19
^     ^                can be used to correct or to amplify some of the information that appears in that
r+^   m
      -^-^    20
              2l certificate. For example, if the applicant failed to identify his or her work as a work
              22 made for hire, he or she can ask the Copyright Office to issue a supplementary
              23
                       registration to correct that mistake. Likewise, if the basic registration mentions only
              24
              25 one author and one copyright claimant, the Copyright Office will accept an
              2s application for a supplementary registration from other authors who would like the
              27
              28


                                                                                     nxr^xr x^oRx a^^n o^ax ^
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                1 record to reflect their claim to authorship and/or ownership in tine work that was
                2
                    registered with the Copyright Office.
                3
                                 l'n order to obtain a supplementary registration, the registeant must
                4
                5 complete Form CA, which stands for "Correction/Amplificatian," and must pay a
                6 filing fee of $115.00, if the Copyright Office decides to issue a supplementary
                7
                  registration, the basic registration still remains in effect . As the Copyright Off ce's
                8
                9 information circular explains, "The basic registration will not be expunged or
               10
                    'cancelled , and the two registrations will bath stand in the Copyright Ofhce records."
               li
                    Circular 8, ,Supplementary Copyright Registrations at p, 3. The supplementary
               12
               l3 registration simply directs the public' s attention to a possible error or omission in
               14
                    the basic registration , and places what purports to be the correct information or the
               15
                          information in the official record.
               ]b missing
               17
               18          C.    The,CBp^right R^straHons
               i9                1.    The Im ortance of the Re 'stration Certifcates
^ ^
^ x           20
!-`'' w                          It is well established that the Copyright Office will register claims to
    --^       21
                    copyright in three-dimensional embodiments of two-dimensional drawings of a doll.
              22
^ ^
              z^ A,s iong as the underlying drawings of the dolls qualify for copyright protection,
              24 those registrations ofihe drawings protect not only the drawings but fine dolls
              25
                    themsei^es. 'The protectable elements of the drawings, when incorporated into the
              26
              27 form and appearance of the three-dimensional dolls, must of course be authorized by
              28
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              I the copyright owner of the drawings, or they will be infringing. As Professor
              2
                   Nimmer states in his treatise : "[C]ourts have correctly held three-dimensional dolls
              3
            . 4 copied from the copyrighted cartoon illustrations of `Spark Plug , The Horse' and

              5 `Betty Boop ' to constitute infringement ." Nimmer on Copyright, 2.18 ^1-i][1)
              fi
                    (footnotes omitted). By way of illustration, the Disney company has the right^to
              7
                    create three-.dimensional Mickey Mouse dolls based on the twadimensional
              8
              9 ^ drawings of the farnoUS cartoon character.
             14
                                 Isaac Larian, when he sought to enforce 1VICA' s claimed rights against
             11
                   an accused infringer in the courts of Hong Kong, made the same point in his
             12
             I3'' J affidavit to the court . He correctly noted, after consultation with his lawyers, that
             14
                   ^ the creatioA of the original drawings of the do1Is serve as the legal basis for claiming
             15
             15 copyright in the dolls themselves , and that he could sue the Hong Kong
             17 ^ manufacturer of the alleged lrnock offs because they infringed the original drawings.
             18
                   ^ His actual Wards were as fallow; " [T]he 3 dimensional ^y Tweenz dolls have
             19
^ ^         20 infringed the 2 dimensional drawings which aze artistic works in which copyright
^ s
r*^ ^       21 subsists." Larian Affidavit at para. 12.
            22
                                By way of amplification, i also note tfiat, in her affidavits for the Fong
            23
            24 Kong litigation in 2002 , Ms. Cronich repeatedly identif es the 15 drawings as the
            2S "artistic works" upon which tl^e 3 dimensional dolls are modeled . Gronich Affidavit
            26
               at para. 4 and para. 5. Lee Shiu Cheung also makes clear that [t]he designs of the
            27
            28 Bratz dolls are all original drawings created by Mr. Bryant using his own

                                                                                  BERT REPORT RALPEi OMAN
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                1 ^^ independent labour, skill and-judgement [sic]," and the "l7 initial concept drawings
                2
                    ^ of the first 4 Gratz dolls [were] designed by Mr. Bryant...." Lee Affirmation at
                3
                    para. 8-9.
                4
                5                Y also note that MGA' s registration of Carter Bryant' s drawings is itself
                6
                    significant. In MGA's Response to Mattel's Supplemental Interrogatory, IvXGA
                7
                    suggests that there were a number of prior works underlying Mr. Bryant's Bratz
                8
                9^ drawings, and that the drawings are therefore largely non^original, However, MGA
               10
                    itselfregisteredtbose drawings and did not list any pre-existing works vn which the
               11
              12 Bryant drawings were purportedly based. The Copyright office expects applicants
              l3 to identify previously registered or public domain materials on which the works are
              14
                    based when they seek registration of those works, That MGrA did not do so suggests
              15
              i6 that it thought that Mr. ^ryant's Bratz drawings were ,wholly original when it
              17 registered them. Indeed, it is common sense that because the drawings were
              18
                    registered as "original" works of art, iviGA's registrations of the drawings reflect
^ ^           l9
^ ^
^ ^,
      =-^     20 that MGA believes that the drawings are original.
              2l                 Z.    The SinnlBcance of the Supulementar ;y Registrations
              22                 The Copyright Office prides itself on the completeness and accuracy of
J
C7'           23
                    its public records. As the repository of vital copyright information, it helps authors
              24
              25 protect their rights, and it promotes trade and commerce in copyrighted materials.
              26 For that reason, the Office encourages authors to correct that public record if they
              27
                 discover errors or inaccuracies . That being said, the Copyright Office also
              2S

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                    1 I discourages corrections of the record if the motivations are suspect . It is one thing
                  2
                       ^ to correct a mistake, but another thing to attempt tv manipulate the record to gain
                  3
                        some legal or competitive advantage. In this case, plaintiff has submitted a series of
                  4
                  S '^ supplementary applications that purport #o coneet vazio^us dates of creation and
                  6
                       I dates ofpublication, and the status of various works as a derivative works, among
                  7
                       ^ other things. I note that in my experience sophisticated companies such as MGA
                  8
                  9               do not make mistakes in their copyright applications , When asked^about
                10
                       I the discrepancy between an original publication date an an MGA copyright
                11
                12 ^ registration form and the "corrected" date on the CA Form, Mr. Khare confesses
                13 that in "[a]II honesty, I don't know, Because Y can tell you, at the time that this
                14
                       [original] Form VA was filled out, [IvIGA^ had better information relating to when
                ], 5
                16 this particular drawing may or may not have been--may have been published."
                l7 Khaze Deposition at 253. 'Fhe forms are typically filled out bywell -trained staff
                T$
                       professionals who appreciate the importance of an accurate filing. It is a felony to
^ ^             l9
^ c^
       -^       20 deliberately falsify a govemrnent document . When the Copyright Office sees a
                2] flurry of CAs in contemplation of litigation , or after litigation has already.
                22
_._1                   commenced, the Office will normally view them as self-serving and irrelevant. Hut
                23
               24 the Copyright Office doesn 't challenge them because it knows that at that paint the
               25 matter is in the hands of the court.
               26
               27
               zs

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              1          b.    Anomalies

              2                Mr. Armstrong, at pages 268-b9 in Volume 1 of lus deposition, claians
              3
                  that in registering the Bryant drawings MGA was simply intending to register the
              4
              S packaging for the Bratz dolls , I have long experience with the registration process,

                  ^ and I have never encountered a similar contention--where a sophisticated cornpazty
              7
                  first registers a display box with graphics rather than registering the underlying work
              8
              9 itself. (The fact that MCA, or its agent, maintains a depasit account at the
             10 Copyright Office suggests to me a frequent use of the registration system, and a
             ll
                  sophisticated understanding of the registration process.} Nor have I encountered a
             12
             13 situation where a sophisticated carnpany contends that it registered the original
             l4
                  drawings of doll designs in the Copyright Office for the purpose of registering, not
             l5
             16 the unique physical characteristics of the dolls, but their packaging materials. And,
             l7 funally, I have also never encountered a situation where a sophisticated company
             1$
                  claims to be registering packaging materials and, as the deposit, submits drawings of
    a        19
    z
    w        20 the item that is supposed to go in the packaging. Occasionally, the Office will
    f        2l accept a substitute deposit in place of the actual item being registered, as long as the


i^ i^
N
             22
             23
                  substitute contains a clear and complete representation of all of the graphic

             24 authorship claimed in the application. Sut the Office will do so only when the item
             25 for which registratian is sought is no longer available. The Office has some
             26
                  discretion in this regard under its Special Relief autlaarity 37 CFR 202.20(d}. That
             27
             28 being said, during my tenure as Register , the Offiee would not accept a drawing or

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                           1 photograph of, for example, a doll, for a claim to copyright in the packaging, with
                       2
                             its various original graphics and artwork. Since the examiner would know that the
                       3
                             packaging itself was readily available, he or she would insist that the remitter submit
                       4
                       5 the actual packaging, or photographs of the packaging, as the only proper deposit.
                       6
                                          Also anomalous is the' series of supplementary registrations recently
                       7
                             made by MGA. All of the corrections/amplifications seem to be an attempt to
                       8
                       9 rewrite the timeline of the creation afthe dolls. lior the Hong Kong litigation MGA
                      10
                             sought to establish that all of the creative acts that culminated with the sale of the
                      11
                      12 Bratz dolls happened very early in the chronology. Zn the current litigation, we see
                      13 an effort to create the impression that the various creative steps took place much
                      14
                             later, that the whole process should ratchet forward to make it seem that events were
                      1S
                     lb
                            ^ much more recent than they aetualiy were.

                     17
                     18
                             UATEU: Fehruarv l 1. 2QOR
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n,      ^,
I       ^            20
                     21
                     22
    W                23
                     24
                     25
                     2fi
                     27
                     2$


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                                                                                  ^"'f


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                                                  RALPH O1VI.AN .


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                                         20006-2401. 1995-200$                  '

                                         Of Counsel, Mudge Rose Gu#hrie Alexander and Ferdon, 1994-1995

                                         Register of Copyrights of the United States, 1985-1993

                                              The Register of Copyrights is the chief government official
                                             charged with administering the national copyright law. The
                                             Registefi supervises the work of 554 Copyright f7flice
                                             employees, rules on the copyrightahility of works, acts as a
                                             priz^cipa[ advisor to Congress on copyright legislation and,
                                             during my tenure, to the Department of State on international
                                             copyright matters, drafting, negotiating, and implementing
                                             international copyright agreements.

                                          Pravel professorial Lecturer in intellectual Property and Patent Law,
                                         'i'he George Washington University Law .School, ^ 993 -present.

                                           Chief Counsel, Subcommittee on Patents, Copyrights, and
                                         Trademarks, Co^nittee on the Judiciary, U.S. Senate, 1983-1985

                                         Staff Director, then Chief Counsel, Subcommittee on Crin:rinal Law,
                                         Canuraittee on the Judiciary, U.S. Senate, 1981-1983

        ^^                                Legislative Counsel to Senator Charles McC. Mathias (R-Maryland),
^.,.,   ^                                 1977-1981                 .
        -:^
                                         'Counsel to Senator Hugh Scott (l2.-Pennsylvania), Subcommittee on
                                          Paten#s, Trademarks,- and Copyrights, Committee on the Judiciary,
        ^                                 U.S. Senate, 1975-1977
  .^

                                         Attorney, Antitrust Division, U.S. DepartmenC of Justice, 1974-1975

                                         Law Clerk, Judge C. Stanley Blair, U.S. District Court for the District
                                         of Maryland, 1973-1974                                   `

                                         U.S. Naval Flight Officer, 1965-197Q, (Retired from tl^e U.S. Naval
                                         Reserve with the rank of Captain, 1992)

                                         Foreign Service Offcer, U. S. Department of State, Dhahran and Jidda,
                                         Saudi Arabia, 1962 -1964     ^(N^B^r..^^.,__ . ^        , ..^.^.


                                                                      PAGE             ^ ^^
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           ^clu,cation                         Georgetown University Law Center, J.A., 1973, Executive Editor,
                             •                Lcrw and Policy in Irrternaliona! Business

                                              Hamilton College, A.B., 1962

                                              Sorbonne, Paris, France, 1960-1961


           Manors and Affiliations              1990 Exemplary Public Service Award of the New "York State Bar
                                              Association Arts, Sports and Entertainment Law Section

                                               1993 International Book Award from the International Publishers
                                              Associa#vn

                                               1993 Lifetime Achieverrxezrt Medal, Foundation •for a Creative
                                              America           .-

                                              Federal Bar Association, President, Capitol Hill Chapter 1993-199

                                              2002, The Sefferson Medal, awarded by the New Jersey Intellectual
            ',                                Property Law Association, in recognition of long professional'
                         •                    commitment to strong intellectual property protection

                                              Member, Interxational Association for the Advancement of Teaching
                                         '    and Researching in Intellectual Property; ABA's Section on
                                              Intellectual Property Law, former chair of six of the eight copyright
                                              catra^nittees           '

                                              Former Trustee, Copyright Society of the United States of America

     ^                               ^        Master of the Court, and Past President, Giles S_ Rich Inn of Court,
r^   ^                                        Waslvng^tora, D.C.
     ^^
                                              Admitted to practice in District of Columbia and before the U.S.
     ^                                        SupreFne Court and the Fourth Circuit Court of Appeals

     '^                                       Who's Who in America                        '




                                             Who's mho in American Law


          Persona!                           Married, three children


          Miscellaneous                      Fluent French, conversational Arabic, private pilot's license, quali#"Fed
                                 .           sailing instructor
                                                                 EXN[8sT             ^
                                                                 PAGE               ^-^
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                                                                  PAGE      ^^^
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                  ARTICLES AND MA70R POLICY SPEECHES BY RALPH OMAN {1997 -PRESENT)

                                                (Authored or Co-Authored)



             1.   "Copyright an the Crlobal Internet: Trust Everybody -But Cut the Cards"          Delivered at
                  Copyright on the Internet Seminar, Washington, D.C., November 8, 199G.

            2.    "Copyright on the Global Internet: Two New Treaties" IP Worldwide, 1997.

            3.    "Copyright on the Internet" Delivered at National CLE Conference, Vail, Colorado, January
                  1 fi, 1997.

            ^-.   "Copyright and Software: A Tour d'I-Iorizvn" Delivered at Association of Corporate Fatent
                  Counsel, Palm Beach, Florida, January 27, 1997.

            5.    "Copyright Protection for Software and Databases"      Delivered at SmithKline Beechern, IP
                  Workshop, Upper Marion, PA., January 30, 1997.

            6.    "New Global Treaties Pratect .Copyxight Online" article for ABA IPL Newsletter, Winter 1997.

            7.    "The World Intellectual Property Organization : A United Nations Success Story "       Gerald
                  Mossinghaff and Ralph Oman, World Affairs, Fall 1997.

            8.    "The Shape of Things to Carne" Remarks prepared for the International Council of the
                  National Academy of Television Arts and Sciences, New York, March 6, 1997.

            9.    "Performing Rights - in tha Digital Age: The International Perspective" Fordham Law School`s
                  International Intellectual Property Law and Policy, Spring 1997

            10.   "Copyright Protection for Software" Delivered at Franklin Pierce Law Center, Concord, NH,
^ ^               April 12,1997.
^ ^
^`^ ¢+v     11.   "copyright Liability on the Internet" Delivered at American University, May 2, 1997.

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                 103.   Speech presented at Breakfast given for His Excellency Ambassador Yang and distinguished
                        guests on April 27, 2007.

                 I04.   "Lebanon: On the Threshold of a New Day," delivexed at The Phoenicia Hotel in Beirut,
                        Lebanon on July 30, 2007,

                 105. ^ Presentation by Ralph Oman given to the American Bar Association's IPL Section in San
                        lirancisco on August 9-13, 2007.

                 106,   Legislative Report an the 1 l0a' Congress, by Ralph Oman given at the IA$IvY Conference in
                        Atlanta, GA on October 5, 2007.

                 107,   Speech presented at Suffolk LFniversity Law School on Novenr^ber 7, 2007.




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                                EXPERT REPORTS, DECLARATIONS, DEPOSITION TESTIMONY,
                                          AND TRIAL TESTIMONY (2003 - 2047}
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               .Karen Knauer, et al. v . Karser Permanente                                                                 EXPERT REPORT OF RALPH OMAN,
               International, Inc., et al., Case No. C 02-45172                                                            ESQUIRE (October 3, 2003),
               DL1(N.D . Cal.)                ^^                                                                           DECLARATION OF RALPH OMAN,
                                                                                                                           ESQUIRE (October 31 , 2003},
                                                                                                                           REBUTTAL EXPERT REPORT OF
                                                                                                                           RALPH OMAN , ESQUIRE {November
                                                                                                                           14, 2403) (On behalf of defendant Kaiser
                                                                                                                           Permanente)

                                                                                                                           On November 13, 2403 I was deposed by
                                                                                                                           the plaintiff in my capacity as an expert on
                                                                                                                           behalf of the defendants.



               Care Group PC v. Sprint PCS, CASE N0. C 02-                                                                 EXPERT REPORT OF RALPH OMAN,
               05172 DLJ (American Arbitration Associatian)                                                                ESQUIRE {November 17, 2003) (On
                                                                                                                           behalf of petitioner, Core Group PC)

                                                                                                                           On February 13, 2004 I testified before a
                                                                                                                           panel of the American Arbitration
                                                                                                                           Association in my capacity as an expert an
                                                                                                                           behalf of the plaintiff.


          S^cR Design, Inc. v. BH Multi Com Corp. CASE                                                                     DECLARATION OF RALPH OMAN {on
^ ^ NO. 04 CV 04223 (LTS} (S.D.N.Y.)                                                                                       behalf of BH Multi Cam Corp.} (April 22,
^ . ^                                                                                                                      2004)
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      ^` Societe du trait de reproduction des auteurs,                                                                     EXPERT REPORT OF RALPH OMAN,
      .^ compositeurs et editeurs au Canada (SODRAC)                                                                       ESQUIRE (May 20, 2044 ) (On behalf of
            {TariiT Proceedings Before the Copyright Board of                                                              SODRAC)
            Canada)
                                                                                                                           My report was included as part of the
                                                                                                                           record for this proceeding.




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             Case 2:04-cv-09049-DOC-RNB Document 3337-9 Filed 04/28/08 Page 52 of 99 Page ID
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               New York Mercantile Exchange v. Intercanlinental        EXPERT REPORT OF RALPH OMAN,
               Exchange, Inc. Case No : 02-CV 9277 {JGK) (DF)          ESQUIRE (August I2, 2004) {On behalf
                                                                       of plaintiff NYMEX)

                                                                       On October 12, 2004 I was deposed by the
                                                                       plaintiff in nrly capacity as an expert an
                                                                       behalf of NYMEX.



               eSchalar LLC v, Otls Educational Systems, Inc.,         EXPERT REPORT OF RALPH OMAN,
               Case Na. 04 CIV. 4051 (SCR} {SDNY}                      ESQUIRE {December 21, 2004} {On
                                                                       behalf of defendant Otis Educational
                                                                       Systerrls, Inc.)

                                                                       On January 28, 2005 and February 9, 2005
                                                                       I was deposed by the plaintiff in my
                                                                       capacity as an expert an behalf of Otis
                                                                       Educational Systems.



               Team Play Inc. et al, v. Boyer d/b/a skyboy             EXPERT REPORT OF RALPH OMAN
               Productions, Case Na. 03 C 7240 {N.D. Ill.}             (on behalf of plaintiff Team Play}
                                                                       (February 25, 2005)



               Express LLC v. Fetish Group Inc., Civil Action          DECLARATION OF RALPH OMAN .
               No. GVOS-2931 (JTLx) {C.D. Cal.)                        (September 9, 2005 ); SUPPLEMENTAL
^r   ^                                                                 DECLARATION OF RALPH OMAN
a                                                                      {September 16, 2005 ) {on behalf of
^    ^                                                                 plainti^` Fetish Group Inc.)
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               rlniversal Furniture International , Inc, v.            EXPERT REPORT OF RALPH OMAN,
               Collezione Europa USA, Inc., Case No.                   ESQUIRE {March 9, 2006} {on behalf of
               1:04CV00977 (M.D.N.C.}                                  defendant Collezione Eurapa}

                                                                       On June 2, 2006 I was deposed by the
                                                                       plaintiff in my capacity as an expert on
                                                                       behalf of Collezione Eurapa:



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        Case 2:04-cv-09049-DOC-RNB Document 3337-9 Filed 04/28/08 Page 53 of 99 Page ID
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           Richard K 11^iemi et al. v. American Axle            EXPERT REPORT OF RALPH OMAN,
           Manufacturing & ^olding.lnc., et al, Case Nn. OS^    ESQUIRE {July 28, 2006} (on behalf of
           74210 (E,D. Mich.)                                   defendants American Axle Manufacturing
                                                                & Holding et a1.)



          Jaime Feliciano Caceres d/b/a JF & Assoc. et al.     EXPERT OF RALPH OMAN, ESQUIRE
          v. ,LandFill Technologies Corp., et al., Case No.    {D.ecember 8, 2006) and
          02-2697 (PG) (D,P.R.)                                SUPPLEMENTAL EXPERT REPORT OP
                                                               RALI?H OMAN', ESQUIRE (October 11,
                                                               2007) (on behalf of plaintiffs Jaime
                                                               Feliciano Caceres, et aI.}


          Btrd Brain v. CYS Gorp., Case No . 06-12'199         EXPERT OF RALPH OMAN, ESQUIRE
          (E.D. Mich.)                                         (March 6, 2007) (on behalf of plaintiff Bird
                                                               Brain}

                                                               Sl'JPPLEMENTAL EXPERT OF RALPH
                                                               OMAN, ESQUIRE (March 22, 2007) (on
                                                               behalf of plaintiff Bird Brain)


          Yan Cleef do Arpels v. Frank Pollak and Sans,        DECLARATION OF RALPH OMAN,
                                                               ESQUIRE (May 2007) {on behalf of
                                                               plaintiff Van Cleef &Arpels)



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                               EXHIBIT 80
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                 THXS EXHIBIT IS FILED UNDER SEAL

                 PURSUANT TO PROTECTIVE ORDER
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                                EXHIBrT 82
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                 THIS EXHIBIT IS FILED UNDER SEAL

                 PURSUANT TO PROTECTIVE ORDER
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                                  #:57490




                                EXHIBIT $3
Case 2:04-cv-09049-DOC-RNB Document 3337-9 Filed 04/28/08 Page 62 of 99 Page ID
                                  #:57491




                 THIS EXHIBIT IS FILED UNDER SEAL

                 PURSUANT TO PROTECTIVE ORDER
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                                  #:57492




                               EXHIBIT 84
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                                     #:57493



                                  UNYTED STATES DISTRICT COURT

                                 CENTRAL DISTRICT OF CALIFORNIA

                                          EASTERN DID VISION

           CARTER BRYANT, an individual,               CASE NO. CV 04-9049 SGL (RN^Bx}
                                                       Consolidated with
                         Plaintiff,                    Case No. C'V' 44-49059
                                                       Case No. CV 45-42727
                  vs.                                  Hon. Stephen G. Larson
           1VIATTEL, INC., a Delaware corporation,     EXPERT REBUTTAL REPORT OF
                                                       ROBERT C, LIND
                         Defendant.


           AND CONSOLIDATED ACTIONS




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                                  #:57494



                         REBUTTAL TO EXPERT REPORT C1F PETER S. MENELL
                                      BY ROBERT C. LIND

              At the request of counsel for Mattel, Inc. ("Mattel"), i submit this rebut#al expert report
      pursuant to Rule 2G{a){2){B) of the Federal Rules of Civil Procedure. 'This report sets forth the
       opinions, and the basis thereof, about which I may be called to testify at trial at the request of
      counsel for Mattel. Specifically, this report is directed to testimony that I may be asked to
      provide in view of the expected testimony of Peter S. Merrell, as embodied in his expert report
      {"the MeneIl report") an behalf of MGA. Entertainment, Inc, ("MGA"). The Merrell report is
      directed toward the cogyrigh#ability of drawings created by Carter BryarAt, the subsequent
      assigYUnent of the copyrights in those drawings to Mattel and the alleged infiingement of those
      copyrights by MGA and its employees.
              Matters raised by the Plairrtiffand/orthc Defendant subsequent to this report, that are
      within the scope a£my expert representation and that are subject to contradiction and/or rebuttal
      may be addressedan subsequent reports. It may become necessary to refine and supplement this
      and subsequent reports as additional information becomes available.
              I also reserve the right to add to or to modify this report in the event that inaccuracies or
      omissions are discovered . My testimony at trial will take into account the evidence alI parties
      produce, including the testimony of other expert witnesses.


                       QUAL1FiCATIONS, COMPENSATIQN, pRiOR TESTIMONY

              1 am currently a Professor of Law at Southwestern Law School in Los Angeles,
      California, where i teach copyright law, entertainment law, entertainment and dignitary rights,
      and advanced entertainment law. I have been a rr^ember of the Southwestern faculty for snore
      than 26 years. In addition, I have taught at Loyola Law School {Los Angeles), George
     Washington Law Sehoal and Maryrnount College of Virginia. Ivly qualif cations are set forth in
     my curriculum vitae that is attached as Appendix A to the Rebuttal Regart.
             I began my study of copyright Iaw under the tutelage of Professor Waldo Moore in
     January of 1978, while earning my juris doctor degree tiom The Natiortal Law Center of the
     George Washington University, i stayed at George 'Ui1'ashington as a graduate student , teaching
     and completing my course work in furtherance of a Master of Laws degree. In 19$1, I was hired
     by Southwestern University School of Law to teach copyright law and to assist students
     interested in the field of entertainment law. Since that time, I have taught more than 50 sections
     of the copyright Iaw course and six sectiazls of the advanced copyright Law seminar. I have
     taught copyright law to more than 2,500 students.                                        .
             I am the author or co-author of six books:

             Entertainment Law: Legal Concepts and Business Prackices (2d ed. 1992 & 2008 Supp.}
             {Co-Author}, a five volume treatise published by Thomson West. I am currently writing a
             third edition of this work,
             Newsgathering and the Law (3d ed. 2005 & 2007 Supp.) {Co-Author), published by




PAGE .^ G _ ^..^---^--
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                                   #:57495



                     LexisNexis Publishing.
                •    Copyright Law (3d ed. 2006), a substantive outline published by Carolina Academic
                     Press.
                •    Trademark Law {3d ed. 2006}, a substantive outline•published byCarolina Academic
                     Press.
                     Entertainment Law (3d ed. 2003 & 1999 Document Supp.) {Co-Author}, a casebook
                     published by LexisNexis Publishing.                               '
                •    Art and Museunn Law: Cases and Materials {Co-Author) (2002}, a casebook published by
                     Carolina Academic Press.

                     I have published more than thirty articles and chapters and have given more than l00
            lectures and presentations , the majority of which have been an the topic of copyright law. I have
            rxtade copyright presentations to law firms and legal departments of motion picture studios and
            rxxusic publishers. I ana recognized and quoted as an expert in the subjects of intellectual
            property, entertainment, art, museum and rnedia law by The New York Times, The Los Angeles
            Times, and The Los Angeles Daily J'oumal among other newspapers , magazines, television and
            radio stations.
                     I am outside copyright counsel for Warner/CkrappeIl Music Publishing and outside
            intellectual property counsel for Lions Gate Entertaintatent for whom I provide analysis and
            advice concerning transactional, clearance, preventative and litigation matters. In addition, I
            consult whit several attorneys, governmental entities, nonprofit organizations and companies
            regarding various intellectual property, media, First Amendment and entertainment issues.
                    I am paid $300 'per hour for my study acid testimony in this case . I have not testified as an
            expert at trial or by deposition in any case during the past four years.



                                             INFORMATION CQNSIDERED .

                     In addition to the case law and materials cited in this report, I have reviewed and relied on
            the following documents in preparing this report:

            ■       Copyright registration certificates, supplementary registrations and deposit material, for
                    the works involved in this litigation.
        ■           Expert Report of Lee Loetz
        •           Expert Report of Kenneth Hollander
        •           Deposition of Rebecca ^Iarris
        •           Employee Confidential Information and Inventions Agreement
        •           Expert Report of Peter S. Menell
        •           Bretz dolls




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                                   EXPECTED TESTIMONY AND OPIMONS

                                                    SUMMARY

               This case involves the infringement of drawings made by Carter Bryant, the copyrights to
       which were assigned to Mattel. Employee Confidential Information and Inventions Agreement
       {"Inventions Agreement ")'^ 2(a). These drawings were made available to MGA and its
       employees when Bryant began working foz MGA to develop a Iine of dolls. Both the Bryant
       drawings and the dolls were intended to be marketed to children. Access to the Bryant drawings
       has been admitted and there is evidence of direct copying by N^GA. The Report by Professor
       1VIeneI1 attempts to defend the actions of MGA by attacking the scope of copyright protection
       afforded the Bryant drawings, arguing that the individual elements can #ained in the drawings
       deserve little copyright protection and any claim of infringement of Mattel's compilation
       copyright must fail because MGA has not made an identical copy ofthose compilations.
                These arguments are made without regard to Ninth Circuit legal precedent concerning
       intermediate copying, direct evidence of copying , the inverse ratio rule, the extrinsic test, the
       intrinsic test and the special rules of substantial similarity that are to accompany an analysis of
       works marketed to children. The legal framework and analysis provided by Professor Merrell is
       heavily influenced by the lava of the Second Circuit Court of Appeals. This ^is surprising, given
       that this action is pending in the United States District Court for the Central District of
       California, Eastern Division, which must apply the law of the Ninth Circuit Court of Appea.Is.
       Tlae law of these two circuits often diverge, particularly regarding copyright infiringement, the
       main focus of the Merrell report.              .
                 There exist several significant differences between the Second Circuit law of copyright
        infringement and the iaw of the Ninth Circuit. One commentator has referred to these
        differences as a "chasm " between the two circuits , See William F. Patty, Patsy on Copyright §
        9.235 (2007). Several assertions made by Professor Merrell in his report are at odds with the law
        enunciated by the Ninth Circuit. His inattention to Ninth Circuit precedent bypasses several
       Ninth Circuit rules regarding copyright infringement that are relevant to fhis litigation.
                 It is my opinion that the drawings created by Carter Bryant and assigned to Mattel meet
       the requirements for copyright protection, that it is likely that these drawings were directly copied
       by MGA during the deveIoprnent and marketing of the Bratz dolls and that rnarsy of the elements
       of the Brats dolls are, at the very least , substantially similar to the Bryant drawings. Applying the
       current Ninth Circuit KrofJt test, I have concluded that the ideas and expression found in the
       Bratz dolls are substantially similar to the ideas and expressions of the Bryant drawings, satisfying
       the requirements of the extrinsic test for .copyright infringement . A finder of fact would likely
       find that 1VIGA 's Bratz dolls took the total concept and feel of t^.e Bryant drawings, satisfying the
       requirements of the intrinsic test for copyright infringement , particularly in light of their intended
       audience of young children . finally, it is my view the facial, body and design elements of the
       Bryant drawings are protected as artistic works, and not just as compilations.




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          X1^TA.PPLI=CABILITX^THE ABSTRACTION, FiLTRAT3aN. COMPARISON TEST

               Professor Menell spends much time describing and applying the abstraction, filtration,
      comparison test set forth by the Second Circuit in Computer Associates Int'l,, c. v. Altai, Inc.,
      982 F.2d 693' {2d Cir. 1992}, Menell report at ^ 6-22, This testis not applicable to this case for
      several reasons. First, this case lxas not been filed in the Second Circuit , but in the Ninth Circuit
     which has its awn tests for determiraing . claims of copyright infringement. In the Ninth Circuit it
     is not only permissible to compare the ideas in the defendant ' s work to the ideas in the plaintiff's
     work, but it is reversible error for a trial court to fail . to do so. See .Tada Tays, Inc, v.l^attel, Inc.,
     2008 WL 450891 , *6 (9th Cir. 2008) (district court's granting of summary judgment reversed
     because district court did not conduct an objective test of comparing both ideas and expression as
     required under the extrinsic test), Second, the Computer Associates test is not appropriate in
     cases, such as the •case at bar, where the issue is primarily dealing with the alleged in_ fringement
     of literal elements, rather than nonliteral elements. See Lotus Development Corp. v. Harland
     I'nt'I, Inc., 49 F:3d 807, 814-15 ( 1st Cir. 1995) (while the Altai test may provide useful
     framework for assessing alleged nonliterai copying, it is of little help in assessing literal copying,
     where it may actually be misleading). Third, the dissection required. by the test and the
     hypercritical analysis of the filtration step has been rightfully criticized when used in cases
     involving the visual arts because it improperly biases infringement decisions against copyright
     owners such as Mattel . This concern has been raised by Professor Paul Goldstein:

             Unlike literary or musical works, visual works can always be compared
             simultaneously, side-by-side, by judge or jury. Unlike literary and musical works,
             visual depictions are completely and graphically bounded by the artist's
             intentions. A picture is not only worth a thousand words ; it also conveys its
             message in a'single unambiguous image . As a consequence, the danger exists
             that, in dissecting fine plaintiffs work to determine whether the defendant has
             appropriated any of its protested expression , courts will emphasize specific
             differences between works rather than their mare substantial similarities.

     II Paul Goldstein , Goldstein on Copyright § 14,2 (3d ed. 2007 ). With its copyright infringement
     tests, the Ninth Circuit has addressed this concern to a greater extent than has the Second Circuit,
              Professor Menell spends several pages in his report itemizing the "wide range of
    influences" to which Carter Bryant is said to be exposed . See Menell report at 17-20. Apart
    from the August 1998 issue of Seventeen Magazdne , Professsor Menell does not indicate that
    Bryant ever saw the • exanaples given and certainly provides no evidence that they were the source
    of his initial drawings of the Bratz dolls . The itemized list of alleged influences , including
    cultural trends, draft report of an art/popular culture historian , Betty Boop, Speed 1Zacer, Sailor
    Moon, lviargaret Keane, Friends, Ally McBeai , Sex and the City, the Spice Girls, Lara Craft,
    Angelina Jolie, additional prior art, popular culture material , iriternet image searches, doll
    illustration art, fashion illustration and the August 1998 issue of Seventeen Magazine, would
    ordinarily form the basis of an attempt at an independent creation defense, However, such a
    defense was made impossible by Carter Bryant's involvement in the development of both the


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         drawings and the Bretz dolls.


                                N1NTH CIRCUIT INFRINGEMENT ANAI:,YSIS

                Mather #han react to the attempted importation of the copyright 3infringement rules of the
         Second Circuit, my analysis is principally based on the law of copyriglx# infringement applied in
        the Nin#h Circuit. Tn ordex• for a plaintiff to prevail in an action for copyright infringement in the
        Ninth Circuit, two elements must be established: Qwn,ership of a valid copyright ar^d the alleged
        infringer' s violation of one or more of the exclusive rights granted to copyright holders under
        section lOb'of the Copyright Act. Perfect I0, Inc. v. Amaaon. cam, Ine., 508 Fad l 146, 11 S9 {9th
        Cir. 2007). Where the alleged i nfringement is of the reproduction right, fhe plaintiff must prove
        that the infringer copied the plaintiff' s work either through evidence of direct copying, or
        circumstantial evidence of copying, i.e. access and substantial similarity. Murray .Full
        Publications, Inc. v, 7'^entieth C'errtury Fox Film Corp., 361 F.3d 312, 316 (9th Cir. 2004}, The
        registration of the copyrights in the drawings with the Copyright Office, once by MGA and a
        second time by Mattel, creates a presumption drat the drawings are protected by copyright. See
        Smith v. Jackson, 84^F.3d 1213, 1219 (9th Cir. 1996}.


                                               Intermediate Canyina

                 Professor Menell's report focuses largely on the MGA Bretz blank sculpt and the final
        version of the first generation Bretz dolls when analyzing the similarities between Bryant's
        drawings and MGA's allegedly infringing works. See Menell report at ^^ 53 & 54.. In the Ninth
        Circuit, a broad view is taken of the rights protected by section 1 Q6{ 1) of the Copyright Act, the
        reproduction right. Ninth Circuit case law protects the copyright owner not only against the final
        product that is marketed commercially, but also against all prepatary items that may have'led to
        the final revised copy. See Sega Enterprises Ztd. v. Accolade, Inc., 977 F.2d 1510, 518 (9th Cir.
        1993}; Walker v. UrriversityBaaks, Inc., 602 F.2d 859,. $64 (9th Cir. 1979} ("[The fact that an
        allegedly infringing work may itself be only an inchoate representation of some final product to
        be marketed commercially does not in itself negate the possibility of infringement."); Walt
       .l7isrrey Productions v. ^"tlmation Associates, 628 F. Sapp. ,871, 87S (C.D. Cal. 1986}.
                Professor Merrell assumes for, purposes of his analysis that MGA' s artists saw Carter
       Bryant's drawings, "worked firorn Carter Bryant's concepts" and that "[some ,merribers of the
       creative team saw Carter Bryar^t's sketches and worked with his input ." See Mennel report at
       ¶^ 39 & 66. Professor Mennel does oat specify how MGA ezr^ployees "worked from" or
       "worked with" the drawings, but it appears that such activity encompassed reproduction of the
       drawings . There has been testimony that MGA prepared and used character art boards, also
       referred to as concept boards, created by Carter Bryant, that depicted drawings of the yet to be
       produced Bretz dolls , to buyers of several retailers such as 'UVaI-Mart, Toys "R" Us, ICrnart and
       Walgreens. Such material was also used at the Hong Kong Toy Fair. Deposition of Rebecca
       Harris, 'U^olume 2 at 365-77 & 476-78 {.Ian. 22, 2008}. MGA's submission of deposit copies as


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         part of its copyright registra#ion applications of the Bryant drawings also constituted an
         unauthorized reproduction . Such a use of identical or substantially similar prepatory material in
         the product development stage or marketing stage is actionable infringement,
            •     According to the Ninth Circuit, the Copyright Act proscribes unauthorized intermediate
         copying. Sege Enterprises.Gtd. v, Accolade, 1nc., 977.F.2d 1510, 1518 (9th Cir. 1993) ("[Tjhe
         Copyright Act does not distinguish between unauthorized copies of a copyrighted work on the
         basis of what stage of the alleged infrirxger 's work the unauthorized copies represent."^.. • This is
         so, regardless of whether the end product of the copying also infringes the exclusive rights of the
         copyright owner. See Sega, 977 fi.2d at 1519.
                  The application of this rule that is analogous to the present case occurred in Walt .Disney
         Produciios^s v. Filmation Associates, 628 F, Supp. 87l (C.D. CaI. 198b^ . In that case, the owner
         of the copyrights in classic feature -length animated motion pictures such as Snaw White acrd the
        ,Seven 1?warfs and Pinvcchio sued another animation studio, Filxrtation Associates, for copyright
        infringement . Disney claimed that fiihxtation was producing feature-length animated films based
        on the Sartre public doanain stories, such as Pinacchio, but had copied Disney's motion picture,
        series of designs and drawings of characters in the drawings , story boards, working model and
        advertising material Filmation had created for its N'ew Adventures of Pi^aocehio motion picture
        that was being developed . Disney, 628 la. Supp, at $75.
                 Filmation defended its actions claiming that the materials it had created were only
        transitory steps en route to a fixed product, that it'had yet fa complete and distribute its motion
       picture and could not be said to have infringed- Disney's copyrights until Filmation's motion
        picture was finished. Disney, 628 F. Supp. at 875-76. The United States District Court for the
        Central District of California rejected that argument, holding that any unauthorized reproduction
       of protected Disney material constituted copyright infringement, even though the preliminary
       works created in the production of Filrnation's matian picture were merely part of the process by
       which Filmation planned to produce an ultimate product that would not be substantially similar
       to Disney's classic films. The court found that to constitute an actionable copy, Filrnatlora's
       expression needed only tv be a material object permanently cast in some intelligible form, The
       court deemed that Filmation 's script, story boa;d, story reel and promotional trailer constituted
       actionable copies, even though they may have been prepared only for the use of Filmatian's
       animators. Copying of a work by a competitor is actionable , even though the copying is intended
       as part of a process to create a noninfringing work. "Tt is thus irrelevant that Filmation has not
       concluded or `realized ' what it considers to be a final motion picture : the Act prohibits the
       creation of copies, even if the creator considers Chase copies mere interim steps toward some
       final goal." Disney, 628 F. Supp. at 875.
                 Tea copying of the Bryant drawings by MGA, such as far use in sales pitches to retail
       stores, for use at a toy fair and to create deposit copies for the Copyright Office, aII constitute
       actionable unauthorized reproductions.                             .^




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                                           Evidence of Co 'n in the Ninth Circuit

                   In mast eopyright infringement actions, direct evidence of copying is not available. See
          Svvirsky v. Carey, 376 F.3d 841, 844 {9th Cir. 2004); Braderbund Software, Inc. v: rI'nison
           ^Yorld, 7nc., 648 F. Supp. 1127, 1135 {N .D. Cal. 1986}. Therefore, a plaintiff often attempts to
          establish the defendant's copying through circumstantial evidence by showing that the infringer
          had access to the work and that the two works are substantially similar . Roth Greeting Cards v.
          Unfixed Card Co., 429 F.2d 1106, 1110 {9th Cir. 1.970}. In his report, Professor Menell
          forthrightly admits tb "skipping over the ` factual copying' element of the copyright infringement
          framework... ," Menell Report ¶ 39. This is in light of apparently direct evidence that MGA
          employees copied the Bryant drawings. MGA registered the same drawings of lade (M
          01 I0183), Sasha {M OI I018^7), Cloe (M 0110197 }, Yasmin (M 0110202) and Bretz Group {M
          0110192j, that have been registered with the Copyright 4ffiice by Mattel:. Doll No. 2 {M
          OD59704j, Group Drawing (M 0059708), Doll No. 3 (M X059712}, Doti No. 4 (M 0059716) and
          Doll No. 9 (M 0059735).
                   Professor Menell fails to address the implications of such evidence in the Ninth Circuit.
          Such unquestioned copying has significant ramifications under Ninth Circuit precedent. Where
          there^is evidence of direct copying, there is na need to analyze the similarities of the plaintiff's
          and defendant's works. Compare Funky Films, Inc. v. Time YGarnerEntertainment Co,, .L..l'.,
          462 F. 3d 1072 , 1476 (9th Cir. 2DD6) (absent evidence of direct copying, proof of infringement
          involves demonstration of access and substantial similarity }, with Norse v. I3'enry Holt and Ca.,
          99i F.2d 563 , 566 (9th Cir. 1993) (substantial similarity analysis is inapposite to the copying
          issue where the defendant has admitted copying ). Even if similarity is analyzed, the traditional
          rigor ofthe substantial similarity standard is eased both by the inverse ratio rule of the Ninth
          Circuit and by the fact that the intended audience far the works is young children.


                                          Proof of Access in the Ninth Circuit

                    >n copyright infringement cases where copying must b'e proven: through circumstantial
           evidence, access is shown through evidence that the infringer had actually read ar heard
           plaintiff's work, or had a reasonable opportunity to view or hear the plaintif f's work. Sid & Marty   -
           Krof^ Television Productions, Inc. v. McDonald's Carp,, 562 F.2d 1157, 1163 {9th Cir. 1977};
          Tasan v. Fonda, 698 F.2d 966, 967 (9th Giar. 1983 ) {"bare possibility" that the producers and
           broadcasters of the motion picture had access to the author's book was insufficient to prove
           access). Professor Menell states in his report that he bases his copyright infringement analysis
           "on the express assumptions that copyright in the sketches are awned by someone other than
          MGA and that MGA's artists saw Carter Bryant's sketches before conducting their own work."
          Menell Report at ^ 39. -When an employee of the copyright owner subsequently is eynployed by
          the defendant accused of copyright infringement, the connection provided by the emrployee is
          proof of defendant's access to the.copyright owner's work. See Tohnson Controls, Inc. v.
          .Phoenix Control Systems, Inc., 8$6 F.2d 1173, 1176 {9th Cir. 19$9}.
                   There can be no more direct access than a situation where both the protected work and the


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              infringing work have been produced by the same person. When the creator of a copyrighted
             work, without the authority to do so, reproduces the copyrighted work or creates a derivative
              work based open that copyrighted wank, copying and infringetnent.are proven.
                      This case is reminiscent of the classic "Cherry Ripe" case, Gross v.. Seligman, 212 F. 93fl
             (2'd Cir. 1914}. There, the creator of a photograph was found to have infringed its copyright by
             later creating a photograph of a substantiaiIy similar image In that case an artist posed a model in
             the nude and fixed the image in a photograph titled Grace of Youth. The artist subsequently
             assigned his copyright in the photograph to a third party. Two years Inter the artist photographed
             the same model in an identical pose, now smiling with a cherry stern held in her teeth. This
            photograph was titled Cherry ,Ripe. The court found that the artist had copied his earlier work,
             either from memory ar with the use of a copy of the earlier photograph, "Whether the model in
            the second case was posed, and light and shade, etc., arranged with a copy of the first photograph
            ghysicallypresent before the artist's eyes, or whether his mental reproduction of the exact
            combination he had already once effected was so clear and vivid that he did not need the physical
            repraductioza of it, seems to us immaterial. The^one thing, viz., the exercise of artistic talent,
            which made the first photographic picture a subject of copyright, has been used not to produce
            another picture, but to duplicate the original." Gross, 212 F. at 931. In spite of changes anode to
            the background, slight differences in the model's figure, and the addition of a smile and the
           holding of a cherry stem between the model's teeth, the Court of Appeals affirmed the district
           court's finding of an infringement of the copyright in the initial photograph. Gross, F. at 931.
                     Similarly to the facts in Gross, Carter Bryant created the copyrighted drawings, assigned
           away his copyrights in those works, and subsequently assisted in recreating the original works
           without the pcrmission of their copyright owner.
                     The holding of the Second Circuit in Gross is instructive in considering the hypercritical
           :nature of Professor Menell's analysis of whether Carter Bryant's drawings have been infringed
           by Carter Bryant's Bretz dolls. The court in Gross concluded:

                  The eye of an artist or a connoisseur will, no doubt, fiend differences between these
                  two photographs. The backgrounds are not identical , the model in one case is
                  sedate, in the other smiling; moreover the young woman was two years older
                  when the Inter photograph was taken, and some slight changes in the contours of
                  her figure are discoverable. But the identities are much greater than the
                  differences, and it seems to us that the artist was careful to introduce only enough
                  differences to argae about, while undertaking to make what would seem to be a
                  copy to the ordinary purchaser who did not have bath photographs before him at
                  the same time. Tn this undertaking we think he succeeded.

           212 F. 930, 931-32 (1914).




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EXtIIBIT        ^^

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                     The Inverse Ratio Rule

            '        Having conceded access by MGA's employees, Professor Menell fails to address the
             impact this strong proof of access to Mattel's works by MGA's employees has on the am^aunt of
            similarity that must be proven by Mattel pursuant to Ninth Circuit grecedent. In the Ninth
            Circuit, when a high degree of access is shown, a lower standard of proof of substantial similarity
            is required. Three Boys Music Corp. v. Bolton, 212 F.3d 477, 485 (9th Cir.-2000}; Rice v. Fox
            Broadcasting Ca., 330 F.3d 11.70, 1178 (9th Cir. 2003}, Where a high degree of access has been
            conceded, as Professor Menell has done in his report, the copyright owner's burden of proof of
            substantial similarity is commensurately Cowered. See syvirsky v, Carey, 376 ls.3d 841, 844-45
            (9th Cir, 2004); Metcalf v. Bochco, 294 F.3d 1069, 1075 (9th Cir. 2002) ("If the trier of fact were
            to believe that jdefendantsJ actually read ^pIaintifls'] scripts ... it could easily infer that the
            many similarities between plaintiffs' scrips and defendants' work were the result of copying, not
            mere coincidence.").


                                                    Substantial Similarity

                   As indicated above in the discussion regarding the Ninth Circuit's inverse ratio rule,
           substantial similarity is inextricably linked to the issue of access. Three Boys Music Corp. v.
           Bolton, 212 F.3c1477, 485 (9th Cir. 2oaa}. The quantum of similarity required in this case is
           decreased as a result. The Ninth Circuit has traditionally employed atwo-part test to determine
           whether two works are substantially similar. In Sid & Marty Krofft ?'elevisiorz Producliorrs, Inc.
           v. McDonald's Corp., 562 F.2d 1157, 1164 (9th Cir. 1977), the Ninth Circuit adopted a
           bifurcated test to determine whether a defendant was to beheld liable for the unauthorized
           reproduction of the plaintiff's work. Under this approach, after access has been proven, a court
           in a copyright infringement action alleging the infringement of the reproduction right of 17
           U.S.C. § 106(1} is to apply an extrinsic test and an intrinsic test. Kouf v. Walt Disney Pictures &
           Television, l6 F.3d 1042, 1045 (9th Cir. 1994}.


                    The Rxtrirrsic Test

                    As originally adapted in Kroff t, the extrinsic test focused on the similarity of ideas
           between the plaintiff's work and the de#'endant's work. Krofft, 562 F.2d at 1164. The sixilarity
           of ideas was determined by external criteria, with analytic dissection and expert testimony
           permitted. Apple Cornputer,l'nc. v. Microsoft Carp., 3S F.3d 1435, 1442 (9th Cir. 1994}. The
           extrinsic test is an objective test that "depends not on the responses of the trier o£ fact, but on
           specific criteria which can be listed and analyzed." Krofj"t, 562 li.2d at 1164; Cavalier v. Random
           House, Inc., 297 F.3d $15, 822 (9th Cir. 2002) ("`extrinsic test' is an objective comparison of
           specific expressive elements"). If the plaintiff satis#ies the extrinsic test, the case is to ga to trial
           where the trier of fact will apply boththe extrinsic and intrinsic tests to determine whether the
           defendant has infringed the plaintiff's copyright. See smith v. Jackson, 84 F.3d 1213, 1218 (9th


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            Cir. 1996).                  ^                                  ^           .
                     The extrinsic #est is to utilize specihc criteria that can be listed and analyzed . Aliotti v, R.
           Dakin c4c Co., 831 F.2d $9S, 900 {9th Cir. 19$7}. When analyzing these objective details, courts
           have found the evidence to fail the extrinsic test where there have been substantial differences
           between the plaintiff's and the defendant's works. See Koufv. WaltDisney Pictures Be
           Television , 16 F.3d 1042 , 1045 (9th Cir. 1994). Subjective assessments of similarity in
           appearance between the plaintiff s work and the defendant ' s work are deemed best suited to the
           trier of fact as part of the intrinsic test . See Shaw v..^indheim, 919 F.2d 1353, 1361 (9th Cir,
           1990); Cavalier v, Random House, Inc., 297 F.3d 815, 826 {9th Cir. 2002),
                    The extrinsic test has evolved into an objective consideration of"whether there are
           substantial similarities in both ideas and expression". Apple Computer, Inc. v, Microsoft Corp,,
           35 F.3d 1435, 1442 (9th Cir. 1994) (emphasis in original). See Shaw v. Lindheim, 919 F.Zd
           1353, 1355 (9th Cir. 1990); ,lohnson Controls, Inc. v. Phoenix Control Systems, Inc., 886 F.2d
           1 l 73, 1176 (9th Cir, 1984}. This focus on both ideas and expression continues to be required by
          the Ninth Circuit: See Cavalier v. Random House, Inc., 297 F,3d 815, 827 (9th Cir. 2002)
          {"Although the concept of a built-in night light is not protectible under copyright law, the choice
          of a smiling moon or star face with pinkish cheeks surrounded by stars in a specific
          configuration, and situated above an encircled star `on' button, constitutes protectible
          expression.").
                    In the recent case of Jada Toys, Inc. v. Mattel, Inc., 2008 WL 450891 (9th Cir. 2008), the
          district court had, granted summary judgment in a case where Mattel claimed that a competitor's
          flame logo infringed Mattel's logo used on its HOT WHEEL51ine of toy vehicles . "(Tjhe
           district court concluded that because the logos at issue were not similar, the extrinsic test was not
           met It also found that since the logos were not similar, na reasonable person could believe that
           they conveyed a similar expression and, therefore , the intrinsic test had not been satisfied." Jada
           Toys, Inc, v. Mattel, Inc., 2008 WL 45089I, *6 (9th Cir. 2008}, The Ninth Circuit reversed the
           district court's granting of sunur ^ary judgment because the district court did not conduct an
           objective test as to both ideas and expression as required under the extrinsic test, Id.
                    Professor Menell's admonition that the filtration step of the Computer Associates test
           must filter out all ideas by draining them through his colander , leaving only protected expression
           #o compare to the de€endant ' s work, is contrary to the analysis required by the Ninth Circuit in
           Tada Tays.
                    When analyzing artworks under the extrinsic test, a court looks to the siznilariry of the
           objective details in appearance . See Cavalier a Random House, Inc., 297 F.3d 815, $26 (9th Cir,
          2002) (" the precise factors evaluated for literary works do not readily apply to art works."),
          ^'hese objective details include type of artwork involved , materials used, subject matter, setting
          for the subject, shapes, colors, and the arrangement of the representations. See Cavalier v.
          Random House, Inc., 297 F.3d 815, 826 (9th Cir. 2002); Sid & Marty Krof^'t Television
          .Productions, Inc, v. McDonald 's Corp., 562 F .Zd 1157, 1164 (9th Cir. 1977). The cases tha#
          apply the Kro^`t test to artworks have identified several objective details that form the basis for
          analysis under the extrinsic test. These include the fallowing;




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EXHIBIT        ^^
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                             Tempe of artwork involved

                     Although the two-dimensional Carter Bryant drawings are a different type of artwork than
             the three-dimensional works of sculpture known as the Bratz dolls, they are integrally related to
             the origins and development of the Bratz product line. Drawings are tradi#ionally the initial
             depictions of a new doll and constitute an important part of the process by which the doll is
             created. As confirmed by other expert reports on which Y am relying, in this case the dolls appear
             to have been closely rraodeled on the drawings created by Carter Bryant. Furthermore, there is
             evidence that thethree-dimensional sculpt for Bratz was based on Bryant's drawings and that
             Bryant hi^nselfmade further contributions to the appearance of the sculpt.


                            Materials used

                     A difference in media does not excuse copying or the making of unauthorized derivatives:
             The Bryant drawings constituted a fundamental step in the development of the Bratz dolls. The
             Bryant drawings were created with sufficient specificity tv effectively aid in the translation of the
             irriages from two-dimensional to three-dimensional . In Walt Disney Productions v. Filmation
             Associates, 628 F. Supp . $71 {C.D. Cal . 19$6}, Filmation argued that its drawings which
             incorporated elements from Disney motion pictures , constituted a different media from the
             celluloid motion pictures produced by Disney . The court determined that the fact that the
             infringing copies were rraade in a medium different than that of the protected work was not a
             defense to copying. Walt Disney Productions v. Filmation Associates ; 62$ F. Supp. $71, 876
             (C.D. Cal. 19$6). See Walker v, Uriiversity ,8ooks, Inc., 602 F.2d 859, 864 {9th Cir. 1979).


                            Subiect matter

                     Both the Bryant drawings and the Bratz dolls depict the same sub,^ect matter: dolls to be
            marketed to young girls that have sultry looking faces and a funky urban fashion style with large
            heads, wide eyes, full lips, very small noses, short curvy torsos and large oversized feet that can
            be detached and replaced with interchangeable feet in different style shoes. This similarity of
            both ideas and expressions is sufficient to satisfy the extrinsic test. In Aliotti v, R. Dakin & Co.,
            83l F.2d 898 , 900-01 (9th Cir. 1987}, the fact that the product lines of both plaintiffs and
            defendant depicted the same subf ect matter, stuffed dinosaur Lays, was - found to be sufficient to
            satisfy the extrinsic test.
                     Professor Menell argues that doll .shapes and facial elements are entitled to only thin
            protection because their designs are based on the human anatomy and all artists are free to
            represent the human form . Menell report ¶ 47. This is not correct even under Second Circuit
            law, As the court in Mattel, Inc, v. Goldberger .Doll Mfg. Co., 365 F.3d 133 {Zd Cir. 2004},
            points out, it would be the ubiquitous use of certain facial features in dolls that would raise doubt
            as to the originality of those features . • 365 F,3d at 135 n.2. Courts protect specific features of
            dolls even though they are based on human physical attributes . See.Mattel, Inc. v. Azrak-


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         Ilarnway Intl, Ir^c., 724 F.2d 357, 350 {2d Cir. 1983) {per curiarn) {accentuation of certain
         muscle groups relative to others constituted protect^`ble expression in Mattel's lie-Man doll}.
         The creative choices that are available when designing a doll are so numerous, the fact that they
         represent one or more of the many varieties of the human form will not preclude or limit the
         copyright protection offered to original works of art. Xn upholding the copyright protection far
         the expressive features of a Barbie doll, the Second Circuit stated:

                 There are innumerable ways of making upturned noses, bow lips, and widely
                 spaced eyes, Even if the record had shown that many dolls possess upturned
                 noses, bow lips, and wide-spread eyes, it would not follow that each such doll -
                 assurning itwas independently created and not copied from others -would not
                 enjoy protection ^frarra copying. We have often affirmed entitlement to copyright
                 protection so long as the work was in fact created by its author, notwithstanding
                 "lack of creativity," "lack of artistic merit" and absence of anything "strikingly
                 unique or novel."

        Mattel, Inc, v. Goldberger Do111^Ianufacturing Co., 365 F.3d 133, I35 {2d Cir. 2004) (citations
        onnitted}.
                It is the particularized expression in the Bryant drawings that are protected by copyright
        and which MGA is not permitted to copy. Mattel, Inc. v. Goldberger Dall Manufacturing Co.,
        365 F.3d 133, 136 (2d Cir. 2004} (citations omitted). It must be emphasized that to merit
        protection frarri copying, a fixed work need only have been independently created by its author
        and possess "some minimal degree of creativity," the requisite 1eve1 of which "is extremely law;
        even a slight amount will suffice . The vast majority of works make the grade quite easily , as they
        possess some creative spark, no matter hour crude, humble or obvious it might be." Feist
        1°ublications, Inc, v. Rural Telephone Serv. Co., 499 U.3.340, 34S {1991).


                          etting for the subiect

                 Both the Bryant drawings and the Bratz dolls focus onmulti-ethnic young images with an
        interest in fashion that denotes a knowing, urban, hip attitude.


                        Shapes

                Asset faith in the expert report of Lee Loetz , both the Bryant drawings and the Bratz
        dolls are constructed of large heads, wide eyes , fill] lips, very small noses, short torsos , long thin
        legs and Iarge feet that can be detached and replaced with interchangeable feet in different style
        shoes. The propoz#ionately large head is placed on a smaller body. Tl^.e shape of the faces is
        similar and are of similar width and length . The large inflated shape of the lips is similar.
        Professor Menell opines that the lade doll lips differ significantly franc the Bryant drawing used
        for comparison. However, the lips on the Jade doll are very similar to the drawings numbered M


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              pl I0202 and MO1 I0192, where the drawing depicts open lips of equal ra#io with indented
              curvature at the top.
                      professor Menell argues that there are significant differences between the drawings and
             the blank sculpt he uses to compare, rather than a completed Bretz doll. 1Vlenell report's S4.
             However, the comparison at tithes is unfair, such as comparing the eyes even though there are no
             details in the eye sockets of the blank sculpt. At another point, Professor Menell points to the
             difference in the size of the feet depicted in the drawings and the bare feet depicted in the blank
             sculpt. Menell report ¶ 55. The fact that the drawing depicts the doll wearing large shoes
             aaoounts for the size differential. This comparison is partict^Iarly questionable in light of the fact
             that the Bretz dolls are popular for their shoes . Bates stamp MGA 0$$3400, ¶ 17.
                     As reflected in the Loetz Expert Report, each of the works of the parties, the almond
             shaped, upwardly angled, heavily lidded eye, as well as the placerrxent of the pupil are similar.
             The eyeliner design and partially closedeyelids that cover half of the pupils in the drawings also
             appear in the dolls. Although Professor Menell provides several examples of eyes to compare
             with the style of eyes included in the drawings , none of the examples, except for the sculpt eye,
             share the half closed eyelid, nor the upturned almond shape of the eye depicted in the Bryant ,
             drawing. See Aliattr v. R. Dakin & Ca, 831 F.2d 898, 901 (9th Cir. 1987) (eye style of stuffed
            dinosaurs was not dictated by the idea of stuffed dinosaur dolls and thus constituted protectable
            expression).
                     Professor Menell states that even if the Bryant drawings are protected by copyright, such
            protection is "thin" ar "modest" due tv the limiting doctrines of originality , merger, scenes a faire
            and functionality that are applied at the f ltration stage of his analysis. The numerous creative
            choices available to a doll designer almost ensures sufficient originality for copyright protection
            where the doll has not been slavishly copied from another source. See Mattel, .Inc. v. Goldberger
            Z7all.Manufacturircg Ca., 365 F.3d 133, 135 (2d Cir. 2004). Plis report identifies several
            examples of dolls or images that depict a sassy, bratty attitude, an ensemble of four female
            friends, multi-racial ormulti-ethnic elements, large head, large eyes, large feet, long legs. At no
            point does he indicate how these depictions have merged into an idea or how they are as a
            practical matter indispensable when designing a fashion daIl.
                     As for functionality, Professor Menell parenthetically mentions "joint characteristics"
            without describing hod those characteristics limit copyright protection, Menell repart'^ 54. He
            also makes a parenthetical reference to "aesthetic functionality" as a limiting Factor due to social
           views of attractiveness. Menell report at ^ 47. Although it rr3tay be conceded that dolls tend to
           incorporate attractive features (though images based on Shrek may belie that notion} Professor
           Menell snakes no aftempt to define the narrow confines of what he would consider socially
           acceptable attractiveness.
                     In essence , Professor Menell would have the reader of his report believe that although
           Getter Bryant was reportedly paid a large sum of money by MGA for the drawings, MGA found
           the drawings sufficiently original and developed to form the basis of its own copyright
           infringement action in Hong Kong and the Bretz doll line has been extremely successful, the
           drawings are merely commonplace and have only a "tnadest residue of copyright protection."
           Menell report ^ 15.



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                Professor MeneIl points out that one ofthe Bryant drawings bses black coloring for the
        eyebrow while one of the Bratz dolls uses brown.. Merrell report ^ 62. However, this nay be due
        tv the different skin color used on the two eompared.works.


                       Arrangement of the represer^ta zp^s

                 The body proportions of the Bryant drawings and dolls are largely identical . This is
        demonstrated by the alignments of the major anatomical iandmarl<s of chins, shoulders , chests,
        waists, elbows , crotch, wrists, knees and ankles. The placements of the eyes, nose and lips on the
        doIIs are also aligned in the same manner as they appear in the drawings . The eyes are
        equidistant in the dolls and the drawings, as are the eyebrows. A mole appears on .the left eye in
        the dolls and the drawings . This strong similarity of body landmarks constitutes, evidence that
        the ilrawir^gs were a direct reference used to complete the dolls.

              The similarities set forth above are sufficient to meet the requirements of the extrinsic
       test. Cnee that testis met; the trier of fact is to compare the total concept and feel of the
       competing works, without the assistance of expert witnesses and analytic dissection.


               The Intrinsic Test

                The intrinsic test focuses on the similarity of expression. It is a subjective test that
       e^carriines an ordinary person's subjective impressions of the similarities between the two works
       and.is exclusively the province of the trier of fact. Funky Films, Inc. v Time Warner
       Entertainment Co., L.P., 462 F.3d 1072, 11177 (9th Cir. 2[){?6}. This subjective test does not
       gerrnit expert testinn^ony, nor does it allow analytic dissection . Apple Computer, Inc. v. Microsoft
       Carp„ 35 F.3d 1435, 1442 (9th Cir. 1994); Olson v. National Broadcasting Co., $55 F.2d 1446,
       1449 (9th Cir.. 1988); Sid & Marty I^i^oj^ Television Productions, Inc. v Mcl3onald's Corp.,
       562 F.2d 1157, 1 i 64 (9th Cir. 1977). 'The trier of fact is not to analyze the works or examine
       external criteria. Kroh, 652 F.2d at 1164. Under the intrinsic test, the finder of fact must decide
       as an ordinary observer "whether the `total concept and feel of the two works is substantially
       similar." Berkic v, Crichton, 761 F.2d at 1292, At this point the works are to be compared as a
       whole. "The two works ... should be considered and tested, not hypercritically or with
       meticulous scz^xtiny, but by the observations and impressions of the average reasonable reader
       and spectator." Twentieth Century-Fox Film Corp. v. Stonesifer, 140 F.2d 579, 582 {9th Cir.
       1944}.
               The similarities between the Bratz dolls and the Bryant drawings are much closer than the
       works at issue in Sid dG Marry KroffG Television Productions,l'rzc. v. McDonald's Corpp., 562 F.2d
       1157 (9th Cir. 1977), which were found to be infringing.



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                7'he Int^pded Audience

                  In determining whether the defendant has taken the total concept and feel of the plaintiff s
        work,    the Ninth Circuit uses the standard of the "reasonable person in the intended audience."
         See Johnson Controls, Inc, v. Phoenix Control Systems, Inc., 886 P'.2d 1173, 1 I76 n.4 {9th Cir,
         ^ 989}. Professor Menell has disregarded the special consideration given to the intended audience
        of the works at issue. Where works are to be used by children , their relative lack of
        sophistication is taken into account when a comparison of similarities is made. In Sid cPc .ll^arty
        Kro,^'t Televislon Productions, Inc. v. McDonald's.Corp,, 562 F,2d 1157, l 166 {9Fh Cir, 1977},
        the Ninth Circuit noted : "The present case demands an even more intrinsic determination
        because both the plaintiffs ' and defendants ' works are duected to an audience of children. This
        raises the particular factual issue of the impact of the respective works upon the minds and'
        imaginations of young people." .I^ro^, 562 F.2d at 1 ^ 66. See also .4liotti v. R. Dakin 8c Co., 83I
        F.2d 898, 902 {9th Cir. 1987) {"Because children are the intended market for the dolls, we must
        filter the intrinsic inquiry through the perception of children."):
                This special consideration has also been adapted by the Second Circuit. See G^illiams v.
         Crichton, 84 R.3d 5$1, S89 (2d Cir. 1996} {"Consideration of the total concept and feel of a
        work, rather than specific inquiry into plot and character developrrrent, is especially appropriate
        in an infringement action involving children's works, because children's works are often less
        complex than those airrxed at an adult audience: '); Well-Made Tay Mfg. Corp. v. Go, f^a .Intern.
         Garp,, 2I (} F. Supp. 2d I47, 161-62 (E.D.N.Y''. 2002), aff'd, 354 F.3d 112, (2d Cir, 2003) (" some
        juvenilization of a judge' s appreciation of what is important in dolls is tolerable"}.

                        And this is particularly so in the instant case where the basic consumer
                appeal is to youngsters . In applying the test of the average lay observer, they are
                not to beexcluded-indeed they are the `far-flung faithful ...audience,' The
                television advertising campaign of plaintiff was directed toward acquainting these
               youngsters with Tammy and Pepper, its new teenage and pre-teen dolls, The
                impression of the faces and general appearance of the dolls was upon there. The
               plaintiffs and defendant's dolls are so substantially similar that the Randy doll, far
                example, would readily be mistaken for the Tammy doll. Both are slim, twelve-
               inah, not firlly developed teenage ferrule figures; both have full faces, large widely
               spaced eyes, pupils positioned to look to the left, long eyelashes, high eyebrows,
               pert upturned noses, bow lips, and puffed checks; both have movable heads, arras
               and legs, and bath invite the child to acquire an accompanying wardrobe. In sure,
               the dolls create the same impression , both with respect to their appearances and
               the playuses for which they are suited. It is the youngsters who, on the basis of
               fhis impression, go to the stores with their parents or at home make their wishes
               known for the dolls they desire after television has made its impact ttpan on them.
               in their enthusiasm to acquire Tammy or Pepper they certainly are not bent upon
               `detecting disparities' ar even readily observing upon inspection such fine details
               as the point at which the necks are molded,



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               'deal Toy Corp, v. p'ab-Lu Ltd., 261 1^. Supp. 238, 241 -42 (S.D.N.Y. 1966), aff'd, 360 F.2d 1021
              (Zd. Cir. 1966}.
                      The intended audience for the Bratz dolls is young girls . These girls will not be familiar
              with the August 1998 issue of Seventeen Magazine or the litany of additional prior art provided
              by Professor Merrell . Neither will these young consurzters focus on the hypercritical comparafive
              analysis of body elements and faciat features presented in the Meneli report.


                        PROTECT O OF BRYANT DRAWINGS AS ALLEGED COMPILATIONS

                     The elements that make up the image of the drawings do not constitute a mere grouping
             of random similarities that Ied to a finding of noninfningement in: Kouf v. Walt Disney Pictures &
             Television, 16 F.3a 1042, 1045 (9th Cir. 1994}. Furthermore, under Ninth Circuit law, the
             standard of infringement for a cornpilatiori ofcreative elements is substantial similarity, not the
             identical o^ near iden#ical standard argued for by Professor Merrell. See Apple Computer, Inc. v.
             Microsoft Corp,, 3S F.3d 1435, 1446-47 (9th Cir. 1994); McCulloch v. Albert E. Price, Inc., 823
             F'.2d 316, 321 {9th Cir. 1987).
                      Professor Merrell relies on Harper House, Inc. v. Thomas Nelson, Inc., 889 F.2d 197 {9th
             Cir. 19$9), for the proposition that the protection of compilations should be Ii.nnited to proof of
             virtual identity. The Bryant drawings are clearly artistic works and do not consist of the blank
             forms, useful articles and common property such as standard calendars , rulers and area cade/tirne
             zone maps, the elements that comprised the organizer at issue in Harper House. As artistic
             works; the Bryant drawings deserve the broader, more traditional protection of the substantial
             similarity infringennent standard because of the endless variation of expression that was available
             to Carter Bryant when he created the drawings. See McCulloch v. Albert E: Price, Inc., 823 F.2d
             316, 32l (9th Cir. 1987). Such works are to be considered as a whole, including any elements
             that may not be independently capyrightable apart from the work. See McCulloch, 823 F.2d at
             321; Roth Greeting Cards v United Card Co., 429 F.2d 1106, 1109 (9th Cir. 1970).




                                                       CONCLUSION

                      In nny opinion, the analysis provided by Professor Merrell in his report is not based on the
              law relevant to this case. In light of the law applied by the Ninth Circuit, the evidence of direct
              copying makes any the exercise of substantial similarity analysis unnecessary . Even assuming
             that direct capying cannot be proven in the case of the final version of the Bratz dolls, the strong
             showing of admitted access requires that the amount of similarity required to be proven by Mattel
             is reduced pursuant to the inverse ratio rule . The degree of sianilari#y nnust also be lowered in
             light of the fact that the intended audience for these works are children. Comparing both the
             ideas and expression found in the Bryant drawings and the Bratz dolls, it is clear that there exists
             substantial similarity under the extrinsic test. As a result, the trier of fact, viewing the works
             through the eyes of their intended audience , will likely find that IvIGA 's dolls took the total


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         concept and £eel o£ the Mattel drawings , satisfying the requirements ofthe intrinsic test. I
         reserve the right to supplement my testiznar^y ire light of any additional testiznany 6y Professor
         Ivienell ox assertions ar evidence proffered by MGA°s experts ar fact witnesses at trial.




                                                                       Robert G Lind




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                          APPENDIX A




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                                                                                   March 4, 2008

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                         and television production law.


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   198a                  MARYMOUNT COLLEGE OF VIRGLNIA,
                             Arlington, Virginia

                         Visiting Lecturer in Business, teaching a course in labor-management re]ations.

  1979-1981              THE NATIONAI, LAW CENTER, GEORCxE WASHINGTON UNNERSITY,
                              Washington, D.G.

                         Lecturer in Law, teaching a first gear course in legal research, writing and
                         professional responsibility.


  Practice Ex erience:

          Ern I e_nt
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                Consultant to a number of Iaw firms and businesses on copyright, trademark, entertainment,
                defamation, right of publicity and privacy law matters.

                Expert witness in cases dealing with intellectual property, entertairunent and media issues.

                Arbitrator, Screen Actors Guiid Arbitration (1989).

                Arbitrator, Los Angeles County Bar Association Arbitration (1985).

                AMERICAN A550CIATION OF MUSEUMS, Washington, D.C. (198a-81). Legal
                Consultant on museum law.

                AMERICAN LAW 1NSTITUTE-AMERICAN BAR ASSQCIATION COMMITTEE ON
                CONTINUING PROFESSI4NAI. EDUCATION (1977-81 ). Researcher in the areas of
                conflicts of interest and,nanprofit organizations.

               1ZEICHELT, NUSSBAUM, BROWN & TOPF , Mt, Rarxier, Maryland (1977-78}. Duties
               consisted of research and writing in various areas of law.


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                 Admissions to Practice;

                          District of Columbia, i 9$0
                          United States District Court for the District of Columbia, 1980
                          United States Court of Appeals for the District of Cvhunbia, 1980
                          California, 1981
                          United States District Court for the Central District of California, 1983
                          Uaited States Court of Appeals far the Ninth Circuit, 1983
                          United States Court ofAppeais for the Federal Circuit, 1986
                          Supreme Court of the United States, 2003


            of sional Activities:

                 Honors

                          Excellence in Teaching Award, Upper Division Professor {2006}.

                          Paul B. Treusah Professor of Law (2005-2006).

                          Copyright Fellow, The Center for Carnputer-Assisted Legal Instruction {2004-2005}.

                        Trademark Fellow, The Center for Computer-Assisted Legal Instruction {2003-2000.

                        Irving D. and Florence Rosenberg Professor ofLaw (2001-2002}.

                Professional Associ^,$ians

                        American Bar Association, Member of Committees on Communications Law, Entertainment
                        and Sports Industry, Legal Education, Patent, Trademark and Copyright Law.

                        District of Columbia Bar Association.

                        California Bar Association, Member ofthe Intellectual Property Section.

                       Los Angeles Couaty Bar Association, Member of the Intellectual Property & Eatertainment
                       Law Section.

                       Beverly Hills Bar Association

                       American Intellectual Property Law Association.

                       American Association of Museums.




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                        Los Angeles Copyright Society

                Governmental Activities

                       Member of the Mayor's Advisory Carnznittee Regarding The Robert F. Kennedy
                       Assassination Investigation Materials , Los^Angeles, California, 1986-1987.

                       Member of the Robert F. Kennedy Assassination Investigation Materials Special Advisor
                       Cammiktee to the California State Archives, Sacramento, California, 1987-19$9,

                ^,ectures and Presentations

                       `"I'he Camrnodi^ication of Lectures-and the Teacher Exception to the Work-Made-For-l-li^e
                       Rules of Copyright Ownership," Southwestern Law School, Los Angeles, California,
                       September 26, 2007.

                       "The Demise of Retard Cornpanies?," Keynoke Speech at the 2006 Music Law Conference
                       presented by the University of Florida, Levin College of Law, Gainesville, Florida, February
                       4, 24as.

                      "Copyright Protection for Digitized Analog Sa^und Recordings," Music Law Carnmittee,
                      Intellectual Property and Entertainment Law Section of the Los Angeles County Bar
                      Association, Los Angeles, California, September 30, 2003.

                      "The Actor as Palette: The Intersection of Copyright, Aotoi Attributes and the Right of
                      Publicity," Southwestem University School of Law, Los Angeles, Califarnia, March I9,
                      2003,

                      "Year In Review - Traderrrarlcs," 2flfll Spring Seminar, Qrange County Patent Law
                      Association /San Diego Intellectual Property Law Association, Long Beach, Califarnia,
                      March 1$, 2041.

                      "Fundamentals of Copyright Lavv," Law Art S errrinars, Los Angeles , California, November
                      I8, 2000.                    `

                      "IKnndamenta.ls ofTrademark Law," Law Art Seminars, Los Angeles, California , November
                      19, 2000.

                      "Recent Developments in Trademark Law," 25th Annual Intellectual Property Institute,
                      Intellectual Property Law Section of the State San of California, San 3ose, Califarnia,
                      November 10, 2000.

                      "Copyright Practice,"Half Moon Seminars, Newport'Beach, California, .Tune 1 G, 2000.


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                "Copyright Responses to Digital Technology," Southwestern University School of Law, Los
                Angeles, California, January Z7, 2000.

                "Trademark Law Basics," Law Art Seminars , San Francisco and Los Angeles, California,
                November I3, 1999.

                "Copyright Law Basics," Law Art Seminars,•San Francisco and Los Angeles , Califanua,
                November 12, 1999.

                "The Digital Millennium Copyright Act & The Copyright Extension Act," Association of
                Clearance and Research Professionals, Los Angeles, California, May 19, 1999,

               "intellectual Property Concerns of Libraries and Museums ," Riverside Local History
               Resource Center, Riverside, California, May 12, 1999.

               "Digital Millennium Copyright Act," Copyright and Trademark Subcommittee of [he
               Intellectual Property and Entertainment Section of the Los Angeles County Bar Associatign,
               Las Angeles , California, January 1 I, 1999.

               "Trademark Law Basics," Law Art Seminars, San Francisco and Los Angeles, California,
               November 14, 1998.

              "Copyright Law Basics ," Law Art Seminars, San Francisco and Los Angeles, California,
              November ], 3, 1998.

              "Copyright Tenn Extension Act," Copyright and Trademark Subcommittee of the
              Intellectual Property and Entertainment Section of the Los Angeles County Bar Association,
              Los Angeles, California , November 19, 199$,

              "Copyright Duration & Reversion," WarnerlChappell Music Publishing , Los Angeles,
              California, February 4, 1998.

              "Trademark Law Basics ," Law Art Seminars, San Francisco and Los Angeles, California,
              Qctober 24 & November 6, 1997.

              "Copyright Law Basics," Law Art Seminars, San Francisco and Las Angeles , California,
              October 25 & November 7, 1997.

              "Copyright Protection for Creations afNonhumans : Celestial Beings , Chimpanzees and
              Corr^puters," Los Angeles Copyright Society, Los Angeles, California, Apri12, 1997.

              "Museums, Arhvork and Electronic Rights," California Western School of Law, San Diego,
              Califoznia, December 5, 1996.

              "Comprehensive Copyright Law," Law Art Seminars, Las Angeles, Califon7ia, November


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                14, X996.

               "Copyright Law Basics," Law Art Seminars, San Francisco and Los Angeles, California,
               October 26 & November 2, 1995.

               "Employment in the Entertainment Industry," Southwestern University School of Law, Los
               Angeles, California, actober l 1,1995.

               "Copyright Law Basics," Law Art Seminars, Los Angeles, California, Apri122, 1995.

               "Opportunities in Bntertainrnent Law," Southwestern University School of Law, Los
               Angeles, California , September 28, I994.

               "Copyrighk Law Basics," Law Art Seminars, San Francisco and Los Angeles, California,
               November 1 & 11, 1994.

               "Defamation and Journaliskic Ethics," Filipino American Press Club of Las Angeles, Los
               Angeles, California, September 16, 1994.

               "Copyright Law Basics ," Law Art Seminars , Palo Alto and Los Angeles, California, April 22
               & 29, 1994.

               "Defamation and Privacy Law," Twentieth Century Fox, Los Angeles, California, June I0,
               1993.

               "Copyright Lavv Basics," Law Art Seminars, Los Angeles, California, May 8, 1993.

               "Copyright Infringement Issues in Computer Software," Customs Law Committee of the Los
               Angeles County Bar Association, Los Angeles, California, December I9, 1991.

               "PTate Speech," Southwestern University School of Law, Los Angeles, California, September
               I3, I990,

               "Copyright Made Sinnpie," American Law Institute-American Bar Association Committee
               on Continuing Professional Education, St. Louis, Missouri, March 24, 19$8.

               "Media Law," California Intercollegiate Press Association, Santa Monica, California, March
               14, 1984.

              "Emotional Distress and the First Arnendrnent: 4f and Concemirig Nazis, Clap Tooth
              Porn.agraphers and other Meaning!uI Exercises in Bad Taste," Southwestern University
              School of Law, Los Angeles, California, Navernber 22, 1983.



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                lV.lade various presentations to law firms and legal departments ofrnotion picture studios and
                music publishers.                                '

                Recognized and quoted as an expert in the subjects of intellectual property, entertainrx^en^,
                art, rr^useurn and media Iaw by The New York Times, 'The Las Angeles Times, and The Los
                Angeles Daily Journal among otlxer newspapers , magazines, television and radio stations.


         Panel and Fro^['atn Participation

                "Law Student Nvfe Sharing - Websites, Copyright and Learning Styles," Legal Education
                and IT: Mirage or Oasis?., 17th Annual Conference for Lat^+ School Computing, Center for
                Computer-Assisted Legal Instruction, Las Vegas, Nevada, June 19, 2007.

                "Law of Fodcasts," Legal Education and IT: Mirage or Oasis?, 17th Annual Conference for
                Law School Catnputing, Center for Computer-Assisted^Legal Instruction, Las Vegas,
                Nevada, June 18, 2007.

                "Antitrust Analysis and the Special Nature of Copyright Protection," Antitrust and
                Intellectual Property in Global Context: A Symposium in Celebration of the W ark of
                Lawrence A. Sullivan, Svuthwestem Law School, Los Angeles, California, February 23,
                2007.

                "Hollywood and Technology," The U,S. District Court of California, 1956-2006: Text and
                Context, Southwestern Law School, Los Angeles, California, October 2?, 200b.

                "'The Legal Battle Lines Surrounding Digital Libraries," It's a Wrap: Cutting Edge Issues in
                Entertainment Litigation, Women Lawyers Association of Los Angeles, Los Angeles,
                California, January 28, 200b.

               "Nuts and Bolts of Intellectual Property Law," Continuing Education of the Bar, Anaheim,
               California, January 27, 2006,

               "Ta Clear or Nvt to Clear. Product Uses in Film and Television," Brave New World:
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               Entertainment & Media Law Institute ar^d the Media Law Resource Center, Los Angeles,
               California, January 26, 2006.

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               California, January 20, 2006.

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               Angeles, California, January I3, 2006.




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                     "Defenses to Third-Party Liability," Third-Party Liability in Intellectual Property, Santa
                     Clara University, Santa Clara, California, October 7, 2005.

                    "When Imitation Isn't Flattering: Dealing with Idea Subzinission Claims," I'm a Lawyer,
                    Help Me Out Here!; Key Issues in Entertainment & Media Law, Donald E. Biederman
                    Entertainment & Media Law Institute and the Media Law Resource Center, Los Angeles,
                    California, January 27, 2005.

                    "Pitching Your Ideas," Film and Media Business Seminar, California Lawyers for the Arts,
                    Los Angeles, California, Qctober 30, 2004.

                    "The Dastar Case, Defining the Boundaries Between Copyright and Trademark Law,"
                    Intellectual Propcr[y Section of the Conejo Valley Bar Association, Westlake Village,
                    California, Juiy 1, 2004.


                    "Why Every Faculty Member Should Author a CALI Lesson," 14th Annual Conference for
                    Law School Computing , Center for Computer-Assisted Legal Instruction, Beattie,
                    Washington, rune 17, 2004.


                    "What's Hat in the Right of Publicity Arena?," Intellectual Property Law, Internet & New
                    Media Section of the Beverly Hills Bar Association, Beverly Hills, California, May 27,
                    2004.


                    "Play: The Revolution Arrives," Sony v. Universal: The Betamax Decision Twenty Years
                    hence, Southwestern University School of Law, Los Angeles, California, March 11, 2004.


                   "Hat Issues in Entertainment," The American Bar Association Forum an Communicatioxls
                   Law, 9th Annual Conference, Boca Raton, Florida, January 23-24, 2004.


                   "Reflections on the Ter.^r^ Extension Case: What's Wrong wit) the U. S. Intellectual Property
                   System," Southwestern University School of Law, Los Angeles, California, April 23, 2003.


                   "Trademark Yeaz in Review," 27th Annual Intellectual Property Institute, Intellectual
                   Property Law Section of the State Bar of California, Santa Barbara, California, November 4,
                   20x2.


                   "Foreign Infringing Websites: Which Battle^raund Should You Choose?," Intellectual
                   Property and Technology Law section of the Orange County Bar Association, Irvine,


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               "New Business in Show Business; The Latest Developments in Music Law," Musia
               Lowdown 2002, Denver, Colorado, June $, 2042.


               "Copyright Wars," Association of Independent Music Publishers, Los Angeles, California,
               April 25, 2002.


               "entertainment and the Tz^ternet (Industry Perspective)," Entertainment Law in an
               Information Economy, Williarn Mitchell CvIlege of Law, St. Paul, Minnesota, April S, 2002.


              "Legal Ethics: Confidentiality Issues," Legal I?roblerns of Museum Administration,
              American Law Institute-American Bar Association Conunittee an Continuing Professional
              Education, I,os Angeles, California, March 21, 2002.


              "Trademark Law Update," 26th Annual Intellectual Property Institute, Intellectual Property
              Law Section of the State Sar of California, Anaheim, California, November 17, 2041,


              "The La^v of the Internet in California," National Business Institute, Los Angeles, California,
              July 3l, 200].


              "Digital Copyright Issues," Judges of the Central I3istrict of California I.Jnited States Distx'ict
              Court, Los Angeles, California, Jung 1, 2001.


              "Copyright, Copy Wrong: Copyright Issues in a Digital World," Metropolitan Cooperative
              Library System, Torrance, California, April 25, 20DI.


              "Intellectual Property Law Year in Review: Practical Implications of Recent Decisions,"
              First Annual Symposium, Intellectual Property, Iz^temet 8z New Media Section, Beverly
              Hills 13ar Association, Beverly Hills, California, April 21, 20D1.


             "California Streamin' Q>: R.iding the Wave of Success in Internet Content Delivery,"
             Subscreen (for Television, Film, and the Internet) Subsection of the Intellectual Property and
             Entertainment Law Section of the Los Angeles County Bar Association, Los Angeles,
             California, April 1$, 2001.




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                     "Update on Entertainment and Copyright Cases," 2001 Spring Copyright Conference, Los
                     Angeles Copyright Society, Indian Wells, California, March 24, 2001.


                     "Capitalism 8i Art -- Intellectual Property Protection and Free Expression in the Digital
                     Age," 11th Annual Entertainment Industry Labor & Emplayrrient Z..aw Conference, Labor 8^
                     Entertainment Law Section of the Los Angeles County Bar Association, Santa Monica,
                     California, December 15, 2000.


                     "Everything You Ever Wanted To Know About The Copyright Office," Assaoiation of
                     Independent Music Publishers, Las Angeles, California, June 22, 2000.


                     "Protecting Trademarks, Copyrights, and Publicity Rights in Entertainment Media,"
                     University of California at Los Angeles, Los Angeles, California, May 6, 2000.


                     "Hot Issues in Newsgathering," The American $ar Association Forurr ^ an Co^r^muruoations
                     Law, San Diego, California, February I8, 2000.


                     "`It's the Story, Stupid' Airtight Acquisitions, A Roundtable Discussion," Film & Television
                     Subcommit# ee of the Intellectual Property and Entertainment 5.ection of the Los Angeles
                     County Bar Association, Los Angeles, California, February 16, 2000.


                     "Copyright Issues for the New Millennium," Intellectual Property Issues for the New
                     Millenriiurn, Thornsan & Thomson, Los Angeles, California, September 28, 1999.


                     "Protecting Trademarks, Copyrights, and Publicity Rights in Entertainment Media,"
                     University of California at Los Angeles, Los Angeles, California, May 15, 1999.


                     "Software Protection From a Patent and Copyright Perspective," Kelley Drye & Warren, Los
                     •Angeles, California, October I4, 199'7.


                     "Art a,id Literature on the Internet," 3rd Annual Entertainment Law Conference, California
                     Western School oFLaw, San Diego, California, March'29, 1997,


                     "The Piracy of Intellectual Property in an International Arena," 3rd Annual Entertainment
                     Law Conference, California Western School of Law, San Diego, California, March 29, 1997.



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                "Intellectual Property on the Internet: Copyright and Trademark;" Friends of the UCLA
                Library, Los^AngeIes, California, January 30, 1997.


                "Download This! Indecency,.tlte Internet, and the V-Chip: Implications for the Americas 8c
                Beyond," Southwestern Journal of^Law cad Tzade in the Americas Symposium on Mass
                Media and Censorship in the Americas, Los Angeles, California, January 24, 1997.


                "Copyright Workshop," Registrars Committee, Western Region, Westem Museums
                Association, Salt Lake City, Utah, October lb,1995.


                "Media and the Courts," National Judicial College, Reno, Nevada, May 29-31, 1995.


               "Photography and the Law; Surviving the End of the 20th Century," Artists & the Law
               Corrnnittee, Los Angeles County Bar Association, Los Angeles, California, May 18, 1995.


               "Introduction to Patent, Trademark and Copyright Law Practice," Califomia Continuing
               Education of the Bar, various locations in California, September 7-18, 1995,


               "Introduction to Patent, Trademark and Copyright Law Practice," California Continuing
               Education of the Bar, various locations in California, ,Tanuary 13-25, 1993.


               "Ethics: Progress Report on the American Association of Museums' Draft Code of Ethics,"
               Legal Problems of Museum Adrzkinistration , American Lavr Institute-American Bar
               Association Corntnittee on Continuing Professional Education , Los Angeles, California,
               March 21, 1991.                                                 -


               "Providing Expert Opinions and Authentications. Idow Dangerous Can It Be?," Legal
               Problems of Museum Administration, American Law Institute-American Bar Association
               Conunittee on Continuing Professional Education, LOS Angeles, California, March 20, 1991.


               "Privacy & Emotional Distress: The Latest Libel ]3attleground," Orange County Press CIub,
               Newport Beach, California, April 30, 1988.


               "Some Camrr^on Tart Clairr^s that Museum Visitors Have Asserted," Legal Probl^;ms of
               Museum Adrninistra#ion, American Law Institute-American Bar Association Committee on
               Continuing Professional Education, St. Louis, Missouri, Ivlarch 24, 1988.


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                    "Responding to Copyright Claims by Others: Fair Use and Other Defenses," Legal Problems
                    of Museum Administration, American Law lnstitute-American Bar Association Committee
                    on Continuing Professional Education, St. Louis, Missouri,lvlarch 24, 1988.


                    "What Ethical Limits Agply when TvZuseums Compete foz Collections, Contributions, and
                    Staff?," Legal Problems of Museum Administration, American Lave Institute-American Bar
                    Association Committee on Continuing Professional Education, Boston, Massachusetts,
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                    Association Committee on Continuing Professional Education , Boston, Massachusetts,
                    March 19, ] 987.


                    "Legalizing Media Ethics," Association for Education in 3ournaliszn and Mass
                    Communication, Memphis, Tennessee, August 6, 1985.


                    "Can Copyright Survive New Technology?," Association far Education in Journalism and
                    Mass Communication, Corvallis, pregon, August 8, 19$3.




   Law Scho 1       v


          Present


                    Facuiry Recruitment Committee; Externship Committee; 1<aculty Advisoz to the
                    Entertainment Law Society; Faculty Advisor for the Entextairunent Law Externship Prograxr^• -




                    Tenure Committee; Library Committee; Sabbatical Canunittee; Faculty Development
                    Committee; Student Faculty Relations Committee; Ad Hoc Committee on Enhancement of
                    Student Life; Scholastic Standards Committee; 75th Anniversary Committee; Budget
                    Committee; Ad kioc Committee on Law Review and Moot Court; Torts Curriculum
                    Cortunittee; Law Review Advisor; Faculty Advisor to various moot court teams.



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       publications:


              Published Books and Cha teas


                        ^ITERTAINMENT LAW: LEGAL CONCEPTS AND BUSIlVESS PRACTICES (3d ed. 2007} (Volurirles
                        1 & 2) (Co-Author).


                        TRA]DI?MAItx LAW (3d ed . 2006).


                        COPYRiGH'F LAW (3d ed, 200b).


                       N^wsGATH1^RIxc AND TfiE LAw (3d ed, 2005 8c 2007 Supp.} (Co-Author).


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                       Statutes, in INTRODUCTION TO PAT^]T, TRADEMARK, ANA COPYRTGI^T LAW PRACTICE Vii
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                      Author).


                     "Attozn.ey-Client Privilege in the Museum Context," ALx-ABA CoUxslr o^ STUllY: LEGAL
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                     "Right of Publicity Concerns. of Museums," WEST iv^usH 9 {Fall 1998}.


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                     Association (1996) {Co-Author), reprinted irz REGISTRARS ' QUARTERLY 2 {Winter 1997).


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                     "The Visual Artist and the Law of Defamation ," 2 UCLA ENT. L. REV. ti3 (1995}.


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                  "Personal Collecting: Proceed With Caution," 69 MUSEr_rht NEws 33 {September/October
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                  ,Book Review of "Board Liability: Guide for Nonprofit Directors," 19 JOURNAL o^ ARTS
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                  Emotional Distress and the First Amendment," 11 Los ANGELES LawYEtt 14 {JUIy/August
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                  STUDY: LEGAL PROBLEMS OF MUSEUM ADMINISTRATFON 597 {1988).


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                  NE^1vS 97 (January /February 1988).


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                    Law," 1 i ALT-ABA CovttsE MATE^IAI..S JovRxAt. 63 (dune 1987) (Co-Author}.


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                    S'^[mY: LEC^At. PROELEMS •oE MUSEU1v1 A^nlvmvI3TR.A,'^'tQN 321 (1987).


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                    (November 1978} (Co-Author).




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                                  #:57528



           1                                            PitOOF OF SERVICE
          2
                         1 am employed in the County of Los Angeles, State of California. I am over the age of
          3      eighteen years and not a party to the within action; my business address is 865 South Figueroa
                 Street, 10th Hoar, Las Angeles, California 90017-2543.
          4
                  On 11'Iarch Y7, 2008, I served true copies of the following document described as: Expert
          5 Rebuttal Report of 1Zabert C. Lind on the parties in this action as follows:

          b          Mike 1^Verdegtlr                                 earl Roth
                     Keker & 'V'an Nest, LLP                          Skadden, Arps, Slate; IVleageher & Flom
          7          710 Sansome Street                               LLP
                     San Francisco, CA 94I 11                         3fl0 South Grand Ave.,
          8          mwerdegar@kvn. cam                               Sui#e 3400
                                                                      Los Angeles, CA 90071
          9                                                           carl. rath@rkcrdderr. com
      10
                     Mark E. Overland
      Il             Overland Borenstein Scheper & Kira LLP
                     300 South Grand Ave.             .
      12.            Suite 2750
                     Los Angeles, CA 90071
     13              moverland@ob^klaw, com
     14
        SY ELECTRON)CC MAaL TRANSMISSION: By electronic mail transmission per stipulation
     15 from the parties on March 17, 2008, by transmitting a PDF format copy of such documents} to
        each such person at the a-mail address Iisted below their addresses}. The docurnent(s} was/were
     15 transmitted by electronic transmission and such transmission was reported as complete and
        without error.
     17
                I declare under penalty of perjury under the laws of the State of California that the
     18 foregoing is true and correct.

     I9

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     2I                   1✓xecuted on.March 17, 2008, at Los Angeles, California.
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     2^                                                                                       ^^
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                                                                                     Case No . GV 04-9649 5GL (RNBx)
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